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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

ANTHONY MARTINO, an Illinois citizen;               )
                                                    )       Case No: 20-CV-2893
                                                    )
                                                    )
Plaintiff                                           )       Judge John Tharp Jr.
                                                    )
vs.                                                 )       Magistrate Judge Susan Cox
                                                    )
                                                    )
YRC, INC., a Delaware corporation; YRC              )
WORLDWIDE, INC., a Delaware corporation



Defendant

                  PLAINTIFF’S SECOND AMENDED COMPLAINT AT LAW

           Pursuant to Fed. R. Civ. P. 15(a)(2), Plaintiff, ANTHONY MARTINO, hereby brings this

Second Amended Complaint and jury demand against Defendant YRC, INC and Defendant YRC

WORLDWIDE, INC.              This suit arises out of Defendants’ blatant violations of the Illinois

Consumer Fraud and Deceptive Business Practices Act (815 ILCS 505/), the negligent supervision

of their respective employees, and defamation based on the libelous and slanderous statements

published about Plaintiff by Defendant’s employees during the scope of their employment of

which Defendants as their employer are vicariously liable under the respondeat superior doctrine.

All of the claims for relief alleged herein by Plaintiff are based on new events and actions taken

by Defendants immediately following the settlement and voluntary dismissal (with prejudice) of a

prior small-claim lawsuit between the parties on March 9th of 2020 as referenced herein.

                                                   PARTIES

      1.         Plaintiff, Anthony Martino is an individual and resident of the state of Illinois.

           Plaintiff is self-employed, and amongst other things, is the sole owner and member of an


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     incorporated business entity of which is involved in the acquisition, re-distribution and

     direct sales of liquidated consumer goods and other industrial machinery to the general

     public of the United States, and of which such endeavors sometimes requires LTL (“less

     than truckload”) freight shipping/delivery. Plaintiff has also in the past dually-worked as

     a fraud investigator (civil & criminal related matters) and possesses the following

     professional designations and educational credentials: CFE (#763085), FCLS, PCLS,

     HCAFA & MBA.

2.         Defendant, YRC, INC., d/b/a “YRC Freight” (hereafter “YRC”), is a full-service

     freight transportation provider (i.e. motor carrier/freight forwarder) incorporated in the

     state of Delaware, and with its principal place of business in Overland Park, Kansas. It

     is a subsidiary of YRC Worldwide, Inc., and per its website (yrc.com/about), it is the

     leading transporter of industrial, commercial, and retail goods, specializing in solutions

     for businesses across North America through a full-service network, advanced

     information technologies, and proactive customer service.

3.         Defendant, YRC WORLDWIDE, Inc., (hereafter “YRCW”) is a publicly traded

     holding company with a portfolio of motor carrier brands including Holland, New Penn,

     Reddaway, HNRY Logistics, and (Defendant) YRC, INC. D/B/A YRC Freight.                Upon

     information and belief, it receives a direct financial benefit on a year to year basis from

     its ownership of Defendant YRC. Inc, and said yearly financial benefit is directly

     contingent by the overall financial performance of Defendant YRC, Inc.       Upon

     information and belief, it is the joint employer of many of the employees of Defendant

     YRC, Inc., and it exerts day-to-day control and/or ultimate authority and oversight of

     YRC Inc’s managers (including terminal managers), supervisors, operations, claims



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     handling and customer relations policies and decisions, and electronic payment systems.

     YRCW is incorporated in the state of Delaware and shares its principal place of business

     and many of its upper-level and senior executives with Defendant YRC, Inc. in Overland

     Park, Kansas.

                                  JURISDICTION AND VENUE

4.         Jurisdiction is proper in this Court pursuant to 28 U.S.C. §1332(a), because the

     Plaintiff and the Defendants are citizens of different states and the amount in controversy

     exceeds $75,000.

5.         Venue is proper under 28 U.S.C. §1391(a)(2)(b)(1)(2) because all of the acts and

     omissions alleged herein by the Plaintiff occurred within the Northern District of Illinois,

     because the Defendants are duly authorized to and actually are continuously “doing

     business” and “transacting business” in this judicial district, and because the Defendants

     have committed torts against Plaintiff in this judicial district through their Illinois-based

     agents (employees) of which were explicitly aimed at Illinois, thus constituting both

     general and specific jurisdiction.

            FACTS CONCERNING PLAINTIFF’S SHIPMENT HISTORY WITH
                           DEFENDANT YRC, INC.

6.         Between January 1st of 2018 and March 23rd, 2020, Plaintiff scheduled and

     prepaid for approximately 35 different LTL (“less than truckload”) freight shipments of

     which YRC accepted and successfully delivered to Plaintiff’s business customers or other

     non-business consignees located across the United States in direct connection with

     Plaintiff’s business or his personal e-commerce sales—the majority (if not all) of which

     were residential deliveries containing only 1 pallet each.

7.         For nearly every one of the approximate 35 different shipments that Plaintiff

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      shipped through YRC between January 1st of 2018 and March 23rd, 2020, Plaintiff (as the

      consignor) personally dropped off each one at YRC’s local freight terminal located in

      Wheeling, Illinois using his own personal vehicles.    Plaintiff did this as a cost saving

      measure so as to avoid incurring additional “pick-up” fees of which are generated when

      YRC sends out its own truck to pick up a shipment at one of Plaintiff’s locations.

8.           Of the approximate 35 freight shipments that YRC accepted and delivered for

      Plaintiff between January 1st, 2018 and March 23rd, 2020, only 1 of Plaintiff’s shipments

      ever resulted in a reported damage claim to YRC, thus, equating to an overall shipment to

      damage-claim ratio of less than 3% during that time span.

9.           Notably, on January 27th, 2020 Plaintiff shipped 1 pallet (through YRC) to a

      commercial business (Reyco Foods) located in Pittsburgh, PA of which had contained a

      brand-new high-end commercial steam oven, and of which the contact person (the

      receiver) for the business (Mr. Nicola Dicio) had purchased directly from Plaintiff on the

      website EBAY for $3,650.      As such, Plaintiff declared the value (i.e. release rate of

      liability) of this shipment as $3,650 on the shipment’s bill of lading (“BOL”).

10.           Prior to its transit, Plaintiff had wrapped the steam oven in extensive protective

      padding and plastic Saranwrap.     After doing so, Plaintiff personally dropped off the

      pallet containing the steam oven at YRC’s local freight terminal located in Wheeling,

      Illinois.

11.          At the immediate time that Plaintiff dropped off the pallet containing the steam

      oven at YRC’s terminal in Wheeling, Illinois, YRC inspected the contents thereon the

      pallet, accepted the pallet for transit, and its own terminal employee signed the BOL

      under the lines attesting that the shipment was received in apparent good order with no



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      exceptions noted thereon.    A copy of the BOL signed on 1/27/20 by Defendant’s own

      terminal employee evidencing Defendant’s acceptance of the steam oven shipment in

      apparent good order without exceptions is attached hereto as EXHIBIT A.

12.         The steam oven was delivered by YRC in Pittsburg, PA on January 29th, 2020, but

      was left with an unknown individual (last name “Crosey”) at the delivery address of

      whom was not the intended receiver explicitly listed on the BOL (Mr. Nicola Dicio).

      The unknown individual (“Crosey”) did not unbundle the protective padding and

      Saranwrap from the steam oven at the immediate time of delivery, and as such, no

      notations of any damage were made on YRC’s delivery receipt.

13.         However, within only a few hours after the delivery of the steam oven by YRC on

      January 29th, 2020, Mr. Dicio (the actual intended receiver per the BOL) personally

      contacted Plaintiff directly through EBAY and advised that when he had personally

      unbundled the steam oven from all of its protective wrapping and Saranwrap, that he

      discovered concealed damage to the oven’s front door of which contained shattered

      shards of glass and door-frame damage.        According to Mr. Dicio, it appeared obvious to

      him that something very heavy (i.e. a forklift or pallet jack) likely hit the front of the door

      of the steam oven sometime during its transit.

14.         Based on the damage being limited to only the front door of the steam oven, Mr.

      Dicio agreed to accept a partial refund of $670 from Plaintiff—equivalent to the actual

      replacement cost of a new OEM (“original equipment manufacturer”) front door from its

      manufacturer (Miele).

15.         On that very same day (January 29th, 2020) that Plaintiff was informed by Mr.

      Dicio of the partial damage to the steam oven—which was only a few hours after its



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      delivery by YRC—Plaintiff immediately notified YRC and submitted a written “partial

      damage” claim in the amount of only $670 (out of a declared value of $3,650) solely so

      as to cover the cost of the refund issued back to Mr. Dicio for the replacement front door

      for the steam oven (hereafter “Subject Damage Claim”).        As part of the Subject

      Damage Claim to YRC, Plaintiff also included photographs depicting the broken glass, as

      well as the written communication between Plaintiff and Mr. Dicio establishing that Mr.

      Dicio only discovered the concealed broken glass after personally unwrapping all of the

      extensive protective padding and Saranwrap from the steam oven shortly after its delivery

      by YRC.

16.          At all times, YRC’s delivery driver could have insisted that the unknown recipient

      (“Crosey”) at the delivery address remove the extensive wrapping and Saranwrap from

      the steam oven at the immediate time of its delivery so as to verify any damage, but

      voluntarily declined to do so.   As such, at all times, YRC knew that the steam oven had

      not actually been unbundled from its protective wrappings and inspected at the immediate

      time of its delivery, and therefore, could not conclusively determine whether or not there

      was any concealed damage.

17.          At all times after being alerted of the Subject Damage Claim by Plaintiff, YRC

      could have also voluntarily inspected the concealed damage on the steam oven by

      coordinating an inspection time either with the consignee (Mr. Dicio) directly, or through

      Plaintiff.   YRC again declined to do so.

18.          On or about January 30th, 2020, YRC’s Sr. Claims Resolution Specialist (Liz

      Hadermann) formally denied Plaintiff’s Subject Damage Claim in writing, leaving

      Plaintiff with no other choice but to file a small claims lawsuit against YRC pursuant to



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      49 U.S.C. §14706(a)(1) (The Carmack Amendment) in order to recoup the $670 loss of

      revenue for having refunded Mr. Dicio the actual cost of the OEM replacement door.           A

      copy of Ms. Hadermann’s 1/30/20 claim denial letter to Plaintiff is attached hereto as

      EXHIBIT B.

19.         49 CFR § 370.7(a) states in part that each “claim filed against a carrier…be

      promptly and thoroughly investigated if investigation has not already been made prior to

      receipt of the claim.”

20.         Ms. Hadermann’s claim denial letter of 1/30/20 (Exhibit B hereto) explicitly states

      in part…: “This shipment was signed for as having been in good condition at the time of

      delivery…The damage you are claiming was reported after our clear delivery. In

      reviewing the supporting documents and photos, this was visible damage not noted. Due

      to the nature and extent of the shattered glass, we feel that this would be easily noticed

      and should have been noted on the delivery receipt.”

21.      Ms. Hadermann’s claim denial letter of 1/30/20 explicitly notes (at the top) that the

      shipment containing the steam oven was dropped off at 1000 CHADDICK DR.-YRC

      TERMINAL, WHEELING IL 60090, but deceptively omits the material fact that its own

      terminal/dock employee in Wheeling, Illinois inspected and signed the BOL (Exhibit A

      hereto) at the immediate time of Plaintiff’s drop-off under the lines attesting that the

      shipment was received in apparent good order.

22.         Ms. Hadermann’s statement within her denial letter, “Due to the nature and extent

      of the shattered glass, we feel that this would be easily noticed and should have been

      noted on the delivery receipt,” is an unequivocal admission that the shattered glass—if it

      had hypothetically already existed at the immediate time it was dropped off by Plaintiff at



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      YRC’s dock terminal in Wheeling, Illinois—would have also been “easily noticed” at the

      time it was personally dropped off and actually wrapped by Plaintiff at YRC’s terminal,

      and should have been noted by YRC itself at the time its own employee inspected the

      shipment and signed the BOL attesting to the shipment’s apparent good order (Exhibit A

      hereto).

23.         Moreover, the content of Ms. Hadermann’s claim denial letter did not in any way

      address or mention any alleged limitation of liability for damages on the $670 cargo

      claim submitted by Plaintiff.

24.         Neither Ms. Hadermann or any other employee of YRC ever contacted the named

      consignee or any other employee at the business address listed on the BOL during the

      course of its alleged investigation of the Subject Damage Claim.

25.         As such, per the explicit content of Ms. Hadermann’s letter explaining the reason

      for YRC’s denial of Plaintiff’s claim, Defendant did not have a valid basis to deny

      Plaintiff’s $670 cargo claim for the damaged steam oven, and its denial was imposed

      only so as to evade payment on a legitimate cargo claim, and was otherwise deceitful,

      fraudulent and/or entirely frivolous.

       FACTS CONCERNING PLAINTIFF’S SMALL CLAIMS LAWSUIT AGAINST
                          DEFENDANT YRC, INC.

26.         On February 11th, 2020, Plaintiff filed a small claims lawsuit in the Circuit Court of

      Cook County Third Municipal District (case no: 2020-M3-000922) pursuant to 49 U.S.C.

      §14706(a)(1) (The Carmack Amendment) specifically relating to the Subject Damage

      Claim as referenced in paragraphs 14-25 herein.    In the filed complaint, Plaintiff sought

      damages including $670 per the refund he’d issued to Mr. Dicio for a replacement door

      for the damaged steam oven he’d shipped, freight charges for the shipment, and related

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      costs of suit and service of process fees, for a total of $1231.52—an amount that was not

      greater than his consequential actual out of pocket losses as a proximate result of the

      damaged shipment and YRC’s denial of the Subject Damage Claim.           A copy of

      Plaintiff’s filed Complaint in case no: 2020-M3-000922 is attached hereto as EXHIBIT

      C.

27.         Pursuant to Fed. R. Civ. P. 54(d)(1), in the small claims complaint, Plaintiff sought

      costs of suit (for example court filing fees) as part of the total damages claimed in his

      small claim lawsuit against YRC of which was brought pursuant to 49 U.S.C.

      §14706(a)(1), since no costs of suit would have been incurred by Plaintiff had YRC

      approved the Subject Damage Claim prior to the suit being filed.

28.         On February 26th, 2020, Plaintiff received an email from YRC Sr. Legal Analyst,

      Kathy Jones, who informed Plaintiff that she’d received Plaintiff’s filed Complaint and

      offered to settle the claim for the reduced amount of $492.

29.         While not raised in YRC’s claim denial letter as sent to Plaintiff by its claim’s

      examiner Liz Hadermann (as referenced in paragraphs 18-23 herein), Ms. Jones alleged

      in her emails that based on YRC’s limitations of liability for the Subject Damage Claim,

      her offer of $492 including the freight charges was proper.

30.         As a means of compromise and so as to avoid the necessity of court appearances,

      on February 28th, 2020 Plaintiff emailed Kathy Jones back and offered to settle and

      dismiss his small claims lawsuit against YRC for the reduced amount of $971, stating

      therein his email: “While I disagree with the applicability of the terms you've presented

      as it concerns the filed claim under the Carmack Amendment, as a means of comprise

      and so as to avoid the time/expense of unnecessary court appearances, I'd be willing to



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      settle/dismiss the complaint for no less than $971, which includes the damage and freight

      charges using your calculations of $492.54, plus the costs of suit and service of process

      fees incurred in filing the matter.”

31.         Later in the day on February 28th, 2020, Kathy Jones responded to Plaintiff’s email

      and agreed to settle the small claims lawsuit for the amount of $971.

32.         Per the parties’ settlement of the small claim lawsuit regarding the Subject Damage

      Claim for the amount of $971, Plaintiff did not obtain an amount in excess of actual out

      of pocket losses, as the actual out of pocket losses as proximately caused by the damage

      to the steam oven ($670) and YRC’s denial of the Subject Damage Claim were actually

      in excess of $971 when including, inter alia, the costs of suit and service of process fees

      necessarily incurred to file the small claim lawsuit (so as to recover the $670).

33.         Furthermore, that Plaintiff took into consideration Ms. Jones’ assertion of YRC’s

      alleged limitation of liability and agreed to settle the small claims lawsuit for an amount

      less than actual out of pocket losses, establishes that Plaintiff’s intent was to (and

      Plaintiff did) operate in good faith in settling the claim and had no intention of seeking

      any alleged “windfall” from the Subject Damage Claim.

34.         Additionally, YRC does not have any legitimate basis to support its allegation (or

      even a mathematical basis for hypothesizing) that Plaintiff was seeking a “windfall” in

      the settlement of the Subject Damage Claim for $971.

35.         On March 2nd, 2020, Kathy Jones emailed Plaintiff and informed Plaintiff that the

      settlement check had been mailed out, and also stated therein: “We regret that it was

      necessary for you to file this claim”—essentially a statement that Plaintiff reasonably

      construed as an admission that the Subject Damage Claim should have been paid by YRC



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      without Plaintiff having had to have first filed a lawsuit.

36.         On March 4th, 2020, Plaintiff received the settlement check from YRCW in the

      amount of $971.

37.         Pursuant to the settlement between the parties, on (Friday) March 6th, 2020

      Plaintiff e-filed his Notice of Voluntary Dismissal With Prejudice in the Circuit Court of

      Cook County Third Municipal District, and therein alerted the Court that the parties had

      settled the matter.

38.         YRC voluntarily never made any appearance to defend the lawsuit, and the case

      was already settled between the parties prior to YRC’s required initial appearance date.

39.         On March 9th, 2020, Plaintiff emailed Kathy Jones and provided her with a copy of

      the Clerk-stamped Notice of Voluntary Dismissal With Prejudice as filed with the court.

      Later that same day, Ms. Jones emailed Plaintiff back acknowledging her receipt of the

      filing and thanking him for providing a copy.     Copies of Plaintiff’s emails with Kathy

      Jones between 2/28/20 and 3/9/20 are attached hereto collectively as EXHIBIT D.

40.        YRC admits at paragraph 37 of its Amended Answer to Plaintiff’s First Amended

      Complaint (filed 8/3/20) that at no time between the filing date of Plaintiff’s small claims

      lawsuit in the Circuit Court of Cook County Third Municipal District and the voluntary

      dismissal of the lawsuit pursuant to the party’s settlement, did Kathy Jones or any other

      employee of YRC ever indicate to Plaintiff that it was YRC and YRCW’s intent to cease

      doing business with Plaintiff thereafter the settlement of the small claim lawsuit.

41.         As such, because Plaintiff was never informed by anyone at YRC or YRCW that

      he was now banned as a customer as a consequence of having filed the small claim

      lawsuit, was never served with a no-trespass notice from YRC (or YRCW), and also



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      because YRC had voluntarily accepted a credit card payment from Plaintiff for the

      scheduling of a new shipment on March 7th, 2020 through its website, accepted an in-

      person drop-off of this new shipment from Plaintiff (personally) on March 9th, 2020 at its

      Wheeling, Illinois freight terminal (as set forth in paragraph 44 herein), delivered this

      new shipment to Plaintiff’s consignee in Jacksonville, Florida on March 18th, 2020 (as set

      forth in paragraph 44 herein), as well as per Ms. Jones’ prior email (from March 2nd,

      2020) conveying that “[YRC] regret[ted] that it was necessary for [Plaintiff] to have [had

      to] file” the small claim lawsuit (as set forth in paragraph 35 herein), Plaintiff reasonably

      assumed that the parties were continuing their ongoing business relationship in good faith

      following the settlement and voluntary dismissal of the small claims lawsuit from the

      Circuit Court of Cook County Third Municipal District on March 9th, 2020.

42.         Other than YRC’s payment to Plaintiff of the $971 and the voluntary dismissal

      with prejudice, the parties’ settlement of Plaintiff’s small claims lawsuit on March 9th,

      2020, contained no other terms or provisions.

           FACTS CONCERNING PLAINTIFF’S BUSINESS DEALINGS WITH
        DEFENDANT YRC, INC. AFTER THE FILING OF HIS SMALL CLAIMS
       LAWSUIT BUT PRIOR TO ITS FORMAL DISMISSAL FROM THE CIRCUIT
            COURT OF COOK COUNTY-THIRD MUNIICPAL DISTRICT

43.         On Saturday, March 7th, 2020—while still awaiting to receive a stamped-copy of

      Plaintiff’s Notice of voluntary Dismissal back from the Clerk of the Circuit Court of

      Cook County Third Municipal District as was e-filed on Friday, March 6th, 2020 (as

      referenced in paragraph 37 herein)—Plaintiff proceeded to schedule another freight

      shipment (PRO # 357-149804-5) through YRC’s website in connection with an e-

      commerce sale.    Notably, on this date, Plaintiff prepaid the freight charges of $264.96 to

      YRC through YRC’s website payment portal with a credit card so as to ship 1 pallet

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      containing a new dishwasher to a residential consignee located in Jacksonville, Florida

      who purchased the dishwasher from Plaintiff on EBAY.

44.         On Monday, March 9th, 2020—the very same day that Plaintiff emailed Kathy

      Jones and provider her with a copy of the clerk-stamped Notice Of Voluntary Dismissal

      as e-filed by Plaintiff on Friday, March 6th, 2020 (as referenced in paragraph 37 herein)—

      Plaintiff personally entered YRC’s freight terminal in Wheeling, IL, had the bill of lading

      signed by a YRC employee, and dropped off the 1-pallet containing the dishwasher of

      which YRC accepted and later delivered to the intended consignee in Jacksonville,

      Florida on March 18th, 2020. However, this would be the last shipment that YRC would

      accept and deliver for Plaintiff.   A copy of the March 9th, 2020 BOL as signed and

      accepted by YRC is attached hereto as EXHIBIT E.

           FACTS CONCERNING PLAINTIFF’S BUSINESS DEALINGS WITH
          DEFENDANT YRC, INC. IMMEDIATELY FOLLOWING THE FORMAL
          DISMISSAL OF HIS SMALL CLAIMS LAWSUIT FROM THE CIRCUIT
              COURT OF COOK COUNTY-THIRD MUNIICPAL DISTRICT

45.         On March 24th, 2020, Plaintiff again scheduled and prepaid the freight charges to

      YRC for another freight shipment in the amount of $244.00 through its public website

      (www.yrc.com) to be personally dropped off at YRC’s Wheeling, IL terminal. This was

      the next chronological shipment (PRO #: 397-225762-2) that Plaintiff scheduled with

      YRC after the shipment specifically referenced in paragraphs 43 and 44 herein.

46.        The shipment consisted of 1 pallet containing a new-condition commercial

      rangehood that was to be delivered to a consignee in Williamsburg, Virginia in direct

      connection with the consignee’s purchase from Plaintiff on the e-commerce website,

      EBAY (hereafter “Refused Shipment”).

47.         Immediately upon scheduling and prepaying the freight charges of $244 with a

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      credit card through YRC’s website payment portal on March 24th, 2020, Plaintiff

      received an email from YRC’s payment portal processor (PayConnexion, a product of JP

      Morgan Chase Bank, N.A) confirming and thanking him for the payment to YRC.

      Plaintiff also separately received an email from YRC containing YRC’s BOL for the

      Refused Shipment, and of which stated: “Please take your provided Bill of Lading and

      shipment to the terminal whose address is below: YRC Terminal 303, 1000

      CHADDICK DR Wheeling, IL 60090 USA.” Additionally, Plaintiff submitted a

      request through YRC’s website for shipping/tracking labels so as to attach to the outside

      of the Refused Shipment, of which YRC also immediately emailed to Plaintiff on this

      same date.   True and accurate copies of YRC’s payment portal confirmation email to

      Plaintiff, YRC’s email to Plaintiff containing the BOL for the Refused Shipment, and

      YRC’s email to Plaintiff containing the shipping labels for the Refused Shipment, are

      attached hereto collectively as EXHIBIT F.

48.         On the evening of March 24th, 2020, Plaintiff and his father drove to Plaintiff’s

      third-party storage facility and picked up the pallet and the sealed box containing the

      rangehood (i.e. the “Refused Shipment”), loaded them into Plaintiff’s vehicle (an SUV

      owned by Plaintiff’s father), then subsequently drove these items to YRC’s local freight

      terminal in Wheeling, Illinois so as to drop off the Refused Shipment with YRC for its

      scheduled transit.

49.         Upon arriving at YRC’s freight terminal in Wheeling, Illinois, Plaintiff and his

      father parked near the terminal’s loading dock, unloaded the pallet and the sealed box

      containing the rangehood from Plaintiff’s vehicle, and then proceeded prepare and tie the

      box containing the rangehood to the pallet using shipping rope.



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50.        Once the box was thoroughly prepared and tied to the pallet (an approximate 15-20

      minute process) and YRC’s shipping/tracking labels taped to the box, Plaintiff then

      entered YRC’s terminal office with a copy of the BOL so as to have it signed for drop-off

      acceptance by a YRC receptionist, have the shipment inspected, and also so that a dock

      employee would then be paged to bring the assembled pallet up the terminal’s loading

      ramp and into the dock with a forklift.

51.        The sequential steps taken by Plaintiff as specifically referenced in paragraphs 45

      through 50 accurately represents the usual process, in general, that had commenced for

      nearly every single shipment that Plaintiff had ever shipped through YRC dating back to

      January of 2018, and in fact, many of the employees working within YRC’s freight

      terminal in Wheeling, Illinois had/have personally waited on Plaintiff during that time

      span to sign BOL’s, and instantly recognized/recognize him in the office from his

      frequent drop-off shipments.      This is particularly so because each shipment required

      Plaintiff to physically enter YRC’s terminal office to have the associated BOL formally

      signed/accepted by a YRC employee and the shipment inspected before the shipment can

      be left for transit at the terminal.

52.        However, upon entering YRC’s terminal office on the evening of March 24th, 2020

      to have the BOL for the Refused Shipment signed by a YRC receptionist, Plaintiff

      handed over the BOL to the attending receptionist, YRC employee Monica Cepauskas.

      Ms. Cepauskas signed the BOL and handed it back to Plaintiff, but then told Plaintiff to

      wait a moment near her desk while she disappeared to the far back of the office to

      retrieve a document.     A copy of the BOL signed by Ms. Cepauskas (as handed back to

      Plaintiff) on 3/24/20 is attached hereto as EXHIBIT G.



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53.         When Ms. Cepauskas eventually returned with the document, she approached

      Plaintiff and stated that her terminal could not accept Plaintiff’s drop-off of the Refused

      Shipment.

54.        Taken by surprise, Plaintiff inquired with Ms. Cepauskas as to the reason why his

      drop-off of could not be accepted.   In response, Ms. Cepauskas asked Plaintiff whether

      or not he was involved in a damage claim with YRC.

55.         Plaintiff responded that he had in fact been involved in a “relatively minor” partial

      damage claim with YRC that had settled multiple weeks prior in small claims court in

      Cook County (i.e. the “Subject Damage Claim” as referenced in paragraphs 8 through 42

      herein), but was unaware of any reason why he would not be permitted to continue

      shipping through YRC since the individual that he’d directly settled the Subject Damage

      Claim with (Kathy Jones) had never mentioned anything of the sort in the settlement of

      the claim.

56.         Ms. Cepauskas then stated to Plaintiff that she was just “following orders” and

      proceeded to hand Plaintiff a copy of an internal memo/email she told Plaintiff she’d

      received and of which had been circulated around the office. The memo/email was dated

      March 11th, 2020 and written by Karry Wallin—the manager of YRC’s Wheeling, Illinois

      freight terminal—and of which was specifically addressed to and shared with a number

      of YRC and/or YRCW employees (including, Monica Cepauskas, Mike Walker, James

      Donley, Douglas Candre, Michael Smith, April Fleming, Cindy Grady, Alice Hobbs, Lisa

      Thompson-McCarthy, Marge Prochaska, Pat Reisser, and Alex Terrones) and also

      physically circulated around the Wheeling, Illinois freight terminal office to additional

      individuals, including but not limited to Dan Trueman.     Ms. Cepauskas asked that



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      Plaintiff read the memo for himself.        See March 11th, 2020 memo from Karry Wallin to

      YRC Employees hereto as EXHIBIT H.

57.         The internal email/memo had the subject line “drop off”, included information

      specific to the shipment of which was the subject of the Subject Damage Claim, and its

      body states: “WE will not accept any more frt [“freight”] from this customer.          Anthony

      Martino.    It is a drop off on the dock.     But just in case he calls in for a pickup.   Or

      tries this with a different name we should make sure the frt [“freight”] is packaged

      properly.   I’m not sure what this looked like as it wasn’t signed for damaged at the

      destination.   No exceptions in our system. This frt [“freight”] delivered clear and we

      denied his claim and now we have a lawsuit. The claim is for $1200.00 for a stainless

      steel steam oven.   Claims dept has requested that we do not accept anymore frt

      [“freight”] from this customer.”

58.        After personally reading the memo, Plaintiff then asked Ms. Cepauskas what he was

      supposed to do with the Refused Shipment that he’d already prepaid for through YRC’s

      website earlier in the day (as referenced in paragraph 43 herein) and of which was still

      sitting outside in the back of the freight terminal waiting to be taken up the loading ramp.

      Ms. Cepauskas stated, “I’m not sure” and indicated that she then would get someone

      from the back of the office to address Plaintiff.

59.         Shortly thereafter, the Ms. Cepauskas returned from the back of the office with a

      male supervisor she referred to as “Marty” (upon information and belief, YRC and/or

      YRCW employee Dan Trueman) of whom approached Plaintiff, and deliberately stated in

      a loud and hostile tone with the obvious intention that numerous other known and

      unknown individuals present in the office (including Ms. Cepauskas who had retrieved



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      him) could hear him: “You need to leave the premises immediately, we cannot accept

      your shipment.”

60.         Plaintiff informed the male supervisor [Mr. Trueman] that nobody at YRC had ever

      notified him that he was banned from shipping with YRC and asked who specifically at

      YRC made the decision to suddenly ban Plaintiff from sending any further shipments.

      The supervisor [Mr. Trueman] responded again in a deliberately loud and hostile tone,

      “Our claims department determined that you submitted a fraudulent claim. That’s all I

      know. You can call Karry Wallin when she returns to the office tomorrow to discuss this

      issue, but right now you need to leave the premises.”

61.         Finally, Plaintiff then asked the male supervisor [Mr. Trueman] what he was

      supposed to do with the Refused Shipment to which he’d already prepaid the freight

      charges and had just spent the time assembling right the outside terminal office with his

      father.   The male supervisor [Mr. Trueman] responded: “That’s not my problem, but

      you need to take it off of our premises and leave.   We can’t accept it.”

62.         Based on the direct instruction of the male supervisor [Mr. Trueman], Plaintiff then

      left the terminal office and went back outside where his father was waiting next to the

      Refused Shipment.

63.         Plaintiff had no choice but to explain to his father that the YRC and/or YRCW

      employees inside the terminal office were not permitting Plaintiff to drop off the Refused

      Shipment because he’d been banned, and that they needed to immediately cut off all of

      the rope from the pallet of which they’d used to tie down the box (containing the

      rangehood) and reload Plaintiff’s vehicle so as to leave YRC’s premises with it.    In

      disassembling the box from the pallet so as to reload the vehicle, Plaintiff was essentially



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      forced to waste approximately $25 (which Plaintiff had directly paid to his father) in

      shipping rope after cutting it all apart.

64.         Immediately upon returning home later that same evening, Plaintiff sent an email

      to YRC/YRCW Sr. Legal Analyst Kathy Jones—the same individual of whom Plaintiff

      had dealt directly with in settling the small claims lawsuit regarding the Subject Damage

      Claim as referenced in paragraphs 28-42 herein.     Also cc’d on the email were YRC

      employees Karry Wallin (the manager of YRC’s Wheeling, IL freight terminal), and T.J

      O’Connor (a Chief Operating Officer of YRCW).

65.         In his email, Plaintiff advised Kathy Jones of how embarrassed and humiliated he

      felt during the events that transpired earlier that same evening while at the YRC freight

      terminal in Wheeling, Illinois as referenced in paragraphs 52-63 herein, particularly

      because the male supervisor [Mr. Trueman] publicly implied in front of numerous

      individuals present that YRC had determined that Plaintiff had committed some sort of

      claim fraud in regards to the prior Subject Damage Claim.     Additionally, Plaintiff

      reminded Ms. Jones that he’d been a customer of YRC for a few years and had only ever

      filed one damage claim out of numerous shipments—and a claim of which she herself

      had previously implied in writing should have been paid without the necessity of Plaintiff

      having to file a lawsuit (as referenced in paragraph 35 herein).   Finally, in his email,

      Plaintiff advised that he’d already prepaid for the Refused Shipment and was now

      unnecessarily delayed in sending it to the consignee.   As such, Plaintiff requested an

      immediate solution as to whether YRC would accept the Refused Shipment.

66.         On the morning of March 25th, 2020, Plaintiff called Karry Wallin (the YRC

      terminal manager in Wheeling, Illinois) on his cellular phone so as to discuss the events



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      that had transpired the previous evening as referenced in paragraphs 52-63 herein, but she

      was allegedly not available.

67.         After attempting to call Ms. Wallin without success as referenced in paragraph 66

      herein, Plaintiff then immediately called YRC Sr. Legal Analyst Kathy Jones on his

      cellular phone, of whom upon information and belief, is based in Overland Park, KS.

68.         When Kathy Jones answered Plaintiff’s call, Plaintiff identified himself and then

      asked her if she’d received the email that he’d sent to her attention the previous night as

      referenced in paragraphs 64 and 65 herein.      Ms. Jones stated that she had received it.

69.         Plaintiff then immediately advised Ms. Jones that he was putting his cellular phone

      on the speakerphone setting so that his father (who was sitting next to Plaintiff) could

      also listen in to their phone call, since he too was present with Plaintiff the prior night at

      the YRC terminal in Wheeling, Illinois during the events referenced in paragraphs 48-63

      herein.   Ms. Jones acknowledged that Plaintiff was putting the call on speakerphone, by

      stating “OK.”

70.         Plaintiff asked Ms. Jones why nobody had told him that as part of the settlement of

      the small claims lawsuit (regarding the Subject Damage Claim) that he would be banned

      from continuing to do business with YRC.       Ms. Jones stated that she “didn’t know.”

71.         Plaintiff asked Ms. Jones whether or not it was her that had made the decision to

      ban Plaintiff from continuing to do business with YRC.       Ms. Jones stated, “No, I didn’t

      personally make that decision. Our claims department investigated your claim and

      determined it contained elements of fraud.     Based on their determination, it went up to

      our legal department and they made the decision.” When Plaintiff inquired as to what

      “elements” she was referring to, she indicated that she didn’t have any more information.



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72.         Finally, Plaintiff again advised Ms. Jones that he still was obligated to immediately

      ship out the Refused Shipment to its consignee who was waiting for its delivery, and had

      already prepaid the freight charges to YRC.   Plaintiff asked Ms. Jones if she had a

      resolution as to whether or not YRC would accept the Refused Shipment, or if YRC was

      instead going to issue him an immediate refund of $244.    Ms. Jones stated, “I’m not

      sure, I don’t have an answer at the moment.   I know that our legal department is

      reviewing the email you sent us yesterday, and someone will be in touch with you right

      away.”

73.         Several hours later—after still not hearing from anyone at YRC regarding a

      resolution as to whether or not YRC would accept the Refused Shipment—Plaintiff again

      sent an email to Kathy Jones, advising her that he had not yet heard back from anyone

      from YRC and questioned whether or not YRC intended to immediately refund him the

      prepaid shipping charges.

74.         Within only a few minutes of sending the email to Kathy Jones as referenced in

      paragraph 73 herein, Plaintiff received a phone call from Karry Wallin—the manager of

      YRC’s Wheeling, Illinois freight terminal.

75.         In her phone call to Plaintiff, Ms. Wallin immediately advised Plaintiff that she

      was just informed by Kathy Jones that YRC was electing not to accept any further freight

      shipments from Plaintiff, including the prepaid Refused Shipment.     Ms. Wallin also

      apologized concerning the internal memo that Plaintiff had received from Ms. Cepauskas

      the prior night as referenced in paragraphs 56 and 57 herein, and stated “You weren’t

      supposed to get that.”

76.         Plaintiff asked Ms. Wallin if she had been made aware as to the reason why he was



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      being banned from conducting any further shipping through YRC, and Ms. Wallin stated

      that all she was told is that YRC’s legal department had made the decision based on the

      Subject Damage Claim that Plaintiff previously submitted, and that she had nothing to do

      with the decision.     Ms. Wallin stated, “All I am is the messenger of the bad news.”

77.            Plaintiff informed Ms. Wallin that he’d shipped numerous shipments through YRC

      over the past two years and that the Subject Damage Claim was the only claim he’d ever

      submitted to YRC.       He then asked Ms. Wallin if she’d ever heard of such a situation

      where a customer was banned after submitted a damage claim.

78.            Ms. Wallin stated to Plaintiff that she’d heard of clients being banned from

      shipping with YRC that had a very high shipment to damage claim ratio, but in all of her

      many years of employment with YRC, she had never heard of a situation such as

      Plaintiff’s where he’s been banned after only submitting one damage claim out of many

      total shipments.

79.            Plaintiff again explained to Ms. Wallin that he was humiliated by the male

      supervisor’s [Mr. Trueman’s] deliberately loud and defaming comments made the

      previous evening in front of numerous employees and other unknown individuals while at

      the freight terminal (as referenced in paragraphs 48 through 63 herein).     Plaintiff asked

      Ms. Wallin if the supervisor’s name [Mr. Trueman] is in fact “Marty” and she stated that

      it is.   Ms. Wallin stated that she would talk to him [“Marty”] about it.

80.            Finally, Plaintiff asked Ms. Wallin if YRC was going to refund the prepaid freight

      charges for the Refused Shipment.       Ms. Wallin stated that she “didn’t know.”

81.            Because YRC would not accept the Refused Shipment, Plaintiff immediately

      scheduled the Refused Shipment to be delivered to its consignee by FedEx Freight at a



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      cost of $413.87—an increased cost of $169.87 from what Plaintiff had already prepaid to

      YRC for the Refused Shipment, but the lowest rate of which Plaintiff could find on short

      notice, and Plaintiff had no choice but to personally re-transport/re-palletize the Refused

      shipment to FedEx Freight in Des Plaines, Illinois on or about the following day (March

      25th, 2020) in order to timely ship it to its intended consignee.

82.         Despite multiple inquiries to both Kathy Jones and Karry Wallin as previously

      referenced herein, and at all other times preceding Plaintiff filing the instant lawsuit,

      YRC opted not to refund Plaintiff his prepaid shipping charges of $244 for the Refused

      Shipment as paid through YRC’s website on March 24th, 2020, nor reimburse the $25

      wasted in shipping rope as a result of being told to leave the premises on the date he

      attempted to drop off the Refused Shipment (as referenced in paragraph 63 herein).

83.          In response to the instant lawsuit of which YRC was served with via process

      server on June 4th, 2020, YRC retroactively submitted a credit card refund to Plaintiff on

      June 26th, 2020 in the amount of $244 (the amount of his prepaid shipping charges for the

      Refused Shipment on March 24th, 2020), and of which then cleared on June 29th, 2020.

84.         On June 29th, 2020, YRC then filed its late Answer to this lawsuit—as the Answer

      was due on or about June 25th, 2020—21 days after it was served.

85.         As such, Defendant deliberately filed a late Answer so as to use the extra days

      between June 25th, and June 29th, 2020 to retroactively submit the credit card refund to

      Plaintiff and wait for it to clear—and only submitted said refund in response to Plaintiff

      having filed this lawsuit and so as to assert therein in its untimely Answer that the prepaid

      funds had already been refunded.

86.         YRC’s retroactive refund of the $244 to Plaintiff between June 26th and June 29th,



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      2020, of which was only issued to Plaintiff in direct response to this litigation, is in and

      of itself a continuation of its deceptive and unfair acts as set forth herein and does not

      negate any of the numbered allegations within Plaintiff’s initial complaint of which

      specifically addressed Plaintiff’s prior attempts at recovering the $244 from YRC over

      the approximate 3-month period immediately preceding this lawsuit, as well as the

      necessity of Plaintiff having to first file this lawsuit so as to finally recover it—said

      amount being the money paid for services that were deliberately not rendered by YRC on

      March 24th, 2020 (and of which it already knew as early as March 9th, 2020 that it had no

      intention of rendering).

87.         Moreover, YRC made no attempt to issue back the $244 refund to Plaintiff prior to

      Plaintiff filing the instant lawsuit against it despite his multiple requests, and also despite

      numerous YRC and YRCW employees (including Trevor Blaylock, Tim McKinstry,

      Karry Wallin, and Kathy Jones) having actually identified in their internal emails

      composed and exchanged on March 25th, 2020 that a refund was immediately due back to

      Plaintiff for the transportation services it refused to provide for the Refused Shipment on

      March 24th, 2020 (and knew as early as March 9th, 2020 that it had no intention of

      rendering).

        FIRST CLAIM FOR RELIEF – VIOLATION OF THE ILLINOIS
        CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES
          ACT (815 ILCS 505/2) AGAINST DEFENDANT YRC, INC.

88.         Plaintiff re-alleges and incorporates by reference each and every allegation and

      statement contained in the preceding paragraphs with the same force and effect as if fully

      set forth at length herein.

89.         At all times between February 26th, 2020 and March 9th, 2020—the time span


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      specifically encompassing the parties’ exchanged email dialogue concerning the

      settlement of the small claims lawsuit regarding the Subject Damage Claim (case no:

      2020-M3-000922) and Plaintiff’s e-filed Notice of Voluntary Dismissal of said lawsuit

      from the Circuit Court of Cook County Third Municipal District per the parties’ mutual

      settlement (as explicitly referenced in paragraphs 26-39 herein) — YRC and YRCW,

      through their claims department employees and supervisors, including but not limited to

      Kathy Jones (Sr. Legal Analyst-Claim Prevention & Resolution) and Trevor Blaylock

      (Manager Claim Prevention and Resolution), intentionally concealed from Plaintiff the

      fact that YRC and YRCW intended to ban Plaintiff from conducting any further shipping

      through YRC beginning immediately after his small claims lawsuit was formally

      dismissed (on March 9th, 2020).

90.         At all times between March 9th, 2020 and March 24th, 2020—the time span

      specifically encompassing the date of Plaintiff’s e-filed Notice of Voluntary Dismissal of

      his small claims lawsuit (March 9th, 2020) and the date of Plaintiff’s next chronological

      shipment (i.e. the Refused Shipment) as prepaid by Plaintiff through YRC’s public

      website (March 24th, 2020) — YRC and YRCW, through their respective claims

      department employees and supervisors, including but not limited to Kathy Jones (Sr.

      Legal Analyst-Claim Prevention & Resolution) and Trevor Blaylock (Manager Claim

      Prevention and Resolution), continued to intentionally conceal from Plaintiff that they

      had in fact already internally made the corporate decision (in writing on or about March

      11th, 2020) to ban Plaintiff from conducting any further shipping through YRC.

91.         As such, because YRC and YRCW intentionally concealed from Plaintiff their

      intention to ban him as a customer immediately following the settlement and dismissal of



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      his small claims lawsuit (and that they actually had internally banned him in writing on

      or about March 11th, 2020), at no time prior to Plaintiff scheduling and prepaying the

      freight charges for the Refused Shipment through YRC’s public website on March 24th,

      2020, his receiving the bill of lading and shipping/tracking labels for the Refused

      Shipment from YRC by email on March 24th, 2020, and his physically bringing the

      Refused Shipment to YRC’s Wheeling, Illinois freight terminal for drop-off on that same

      date, did Plaintiff have any knowledge whatsoever that he had been banned from

      continuing to ship through YRC.

92.         Moreover, YRC and YRCW’s Sr. Legal Analyst Kathy Jones, intentionally waited

      until only after receiving an email from Plaintiff containing his e-filed Notice of

      Voluntary Dismissal of his small claims lawsuit (on March 9th, 2020) before then

      subsequently instructing Ms. Wallin by email on March 11th, 2020 that her terminal

      should not accept any further shipments from customer “Anthony Martino/Tony

      Martino” (Plaintiff).

93.        At all times between February 26th, 2020 and March 24th, 2020, YRC owed Plaintiff

      a duty of good faith and fair dealing in the settlement agreement of the parties’ prior

      small claims lawsuit, as well as a statutory duty pursuant to 815 ILCS 505/2, to disclose

      its material and exclusive knowledge to Plaintiff (a long-known business invitee/shipping

      customer) that it had no intention of accepting any further shipments from Plaintiff after

      the dismissal of the small claims suit on March 9th, 2020, including the Refused Shipment

      that Plaintiff scheduled and prepaid freight charges for on March 24th, 2020 through

      YRC’s public website, because it had already internally banned him as a customer (as of

      or about March 11th, 2020) as a direct result of filing the small claims lawsuit against it.



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94.        At all times, YRC and YRCW intended for Plaintiff to rely on the expressed content

      of the emails written and sent to him by their employee Kathy Jones between February

      26th, 2020 and March 9th, 2020 as it concerned the full scope of the parties’ settlement of

      the small claims lawsuit regarding the Subject Damage Claim (as referenced in

      paragraphs 26 through 39 herein) and the status of the parties’ business relationship

      thereafter, and particularly Ms. Jones’ email on March 2nd, 2020 of which stated: “[YRC]

      regret[s] that it was necessary for you to file this claim,” of which deliberately omitted

      the material and exclusive knowledge that YRC was banning Plaintiff as a customer

      immediately following Plaintiff’s dismissal of the small claims lawsuit, and instead,

      reasonably conveyed to Plaintiff that YRC was conceding that it should have paid his

      valid Subject Damage Claim without the necessity of having to file a small claims

      lawsuit.

95.         Had YRC and YRCW not intended for Plaintiff to rely on the expressed content of

      Ms. Jones’ written emails as it concerned the parties’ settlement of the prior small claim

      lawsuit and the status of the business relationship between the parties thereafter its

      dismissal, they could (and would) have directly notified Plaintiff or otherwise ensured

      that Ms. Jones directly notified Plaintiff either at the time she was engaging in settlement

      discussions with him (beginning on February 26th, 2020) or immediately thereafter the

      voluntary dismissal of the small claims lawsuit (on March 9th, 2020), that Plaintiff was

      banned as continued customer of YRC so that he would have known that he was not

      welcome to schedule and prepay for any further shipments through YRC’s public website

      (as he did on March 24th, 2020) or attempt to personally drop off any further shipments at

      YRC’s Wheeling, IL freight terminal (as he did on March 24th, 2020).



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96.         As explicitly set forth in paragraph 45-47 herein, at all times immediately

      following the parties’ settlement and dismissal of the small claim lawsuit on March 9th,

      2020, YRC (and upon information and belief, YRCW) also deceptively intended for

      Plaintiff to rely on YRC’s public business website (www.yrc.com) for the purpose of

      booking and paying for further freight shipments, its payment confirmation email for the

      Refused Shipment on March 24th, 2020, and the bill of lading and shipping labels it

      emailed to Plaintiff for the Refused Shipment on March 24th, 2020.

97.         If YRC (and upon information and belief YRCW) had not deceptively intended for

      Plaintiff to rely on its public business website, its payment confirmation email for the

      Refused Shipment on March 24th, 2020, and the bill of lading and shipping labels it

      emailed to Plaintiff for the Refused Shipment on March 24th, 2020, it could (and would)

      have either directly notified Plaintiff prior to March 24th, 2020 that he was banned as a

      customer of YRC, served Plaintiff with a no-trespass order, and/or instructed JP Morgan

      Chase Bank, N.A (the administrator of YRC’s website’s PayConnexion payment portal

      account) to block Plaintiff's IP address, credit card, name, and/or billing address from its

      payment system immediately after March 9th, 2020 so that no further shipments could be

      scheduled and prepaid for by Plaintiff through its website.

98.        By scheduling and prepaying the freight charges by credit card in the amount of

      $244 for transportation of the Refused Shipment on March 24th, 2020 through YRC’s

      website payment portal (PayConnexion), and then personally transporting it to YRC’s

      freight terminal in Wheeling, Illinois on that same date, Plaintiff actually demonstrated

      his reliance on the written statements and omissions by Ms. Jones per her emails, as well

      as his reliance on his access to YRC’s website payment portal, YRC’s payment



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      confirmation email of March 24, 2020 for the Refused Shipment, YRC’s March 24th,

      2020 email containing the bill of lading for the Refused Shipment of which explicitly

      stated, “Please take your provided Bill of Lading and shipment to the terminal whose

      address is below: YRC Terminal 303, 1000 CHADDICK DR Wheeling, IL 60090

      USA,” and YRC’s March 24th, 2020 email containing the shipping labels to be attached

      to the Refused Shipment (collectively Exhibit F hereto).

99.         At all times during the parties’ settlement negotiations of the small-claim lawsuit

      and immediately thereafter its voluntary dismissal with prejudice on March 9th, 2020,

      YRC and YRCW could have notified Plaintiff that they had banned him as a customer of

      YRC so that he would have known prior to scheduling and prepaying the freight charges

      for the transportation of the Refused Shipment through YRC’s website on March 24,

      2020, and prior to physically attempting to drop off the Refused Shipment at YRC’s

      Wheeling, IL freight terminal on that same date, but deliberately failed to do so in

      retaliation for Plaintiff having filed the small claims lawsuit against it arising out of the

      Subject Damage Claim.

100.         YRC and YRCW, through its claims supervisors, operations managers and in-

      house attorneys, including but not limited to Trevor Blaylock and Kevin Oakleaf,

      deliberately instructed Ms. Jones to omit from all of her emails to Plaintiff between

      February 26th, 2020 and March 9th, 2020 that they’d made the corporate decision to ban

      him as a customer of YRC, and so as to instead allow Plaintiff to continue believing that

      he remained welcome to schedule and prepay for further transportation services thereafter

      through YRC’s website, and with the premeditated intention of then recouping some of

      the funds it had paid to Plaintiff in the settlement of the small claim lawsuit and/or



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   otherwise cause emotional distress, thus constituting a deceptive and unfair act under 815

   ILCS 505/2.

101.      In an email written on March 11th, 2020, YRC’s (and upon information and belief

   YRCW’s) Senior Legal Analyst, Kathy Jones, instructed YRC’s Wheeling, IL terminal

   manager, Karry Wallin, that her terminal should no longer “pick up or accept” any further

   shipments from Plaintiff.

102.      Upon information and belief, after Ms. Jones notified Ms. Wallin (on March 11th,

   2020) that her terminal was not to pick up or accept any further shipments from Plaintiff,

   YRC and YRCW, through their claims supervisors, legal analysts, operations managers

   and/or in-house attorney, including but not limited to Ms. Jones, Trevor Blaylock, Kevin

   Oakleaf, and Tim Mckinstry, also deliberately instructed Ms. Wallin to withhold from

   Plaintiff that he’d been banned as a customer of YRC and instead allow him to continue

   believing that he was still welcome to schedule and prepay for further transportation

   services through YRC’s website, and with the premeditated intention that YRC would

   effectively recoup some of the funds it had paid to Plaintiff in the settlement of the small

   claim lawsuit and/or otherwise cause emotional distress to Plaintiff when he showed up

   to drop-off a newly scheduled shipment entirely unaware that it would not be accepted,

   thus constituting a deceptive and unfair act under 815 ILCS 505/2.

103.      YRC and YRCW had actual and constructive knowledge that Plaintiff always

   prepaid for nearly each and every one of his outbound freight shipments through YRC’s

   public website with a credit card dating all the way back to January of 2018, and as such,

   could reasonably foresee that Plaintiff would likely continue to schedule and prepay for

   further shipments through YRC’s website after March 9th, 2020 as a direct result of not



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   disclosing to him that they’d made the corporate decision (on or about March 11th, 2020)

   to ban him as a customer of YRC.

104.        As such, by failing to disclose to Plaintiff that he’d been banned as a customer

   and also failing to ever serve Plaintiff with a no-trespass notice, YRC and YRCW

   intentionally allowed Plaintiff to schedule and prepay the $244 in freight charges for the

   Refused Shipment through its website via credit card on March 24th, 2020, and then

   actually physically bring the Refused Shipment to its freight terminal in Wheeling,

   Illinois for drop-off that very same day, before only then advising Plaintiff in person

   (through its local employees Monica Cepauskas and Dan Trueman at its Wheeling,

   Illinois freight terminal) in a publicly humiliating manner that he’d been banned from

   further shipping due to his having submitted an allegedly “fraudulent claim” (i.e. the

   “Subject Damage Claim” as referenced herein), that the Refused Shipment would not be

   accepted, and that he needed to immediately leave YRC’s premises and take the Refused

   Shipment with him.

105.        Thereafter, at all times preceding Plaintiff filing the instant lawsuit, YRC

   deliberately opted not to refund Plaintiff his prepaid funds of $244 for the “Refused

   Shipment” as a means of retroactively recouping a portion of the funds ($971) it had

   previously paid to Plaintiff in its voluntary settlement of the prior small claims lawsuit

   concerning the “Subject Damage Claim and to otherwise cause Plaintiff undue

   aggravation and emotional distress.

106.         As directly set forth in paragraphs 82 through 87 herein, retroactively refunded

   the $244 only after Plaintiff was compelled to file the instant lawsuit to recoup said

   funds.



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107.      Furthermore, despite Plaintiff’s multiple inquires to Kathy Jones and Karry

   Wallin regarding a refund for the prepaid Refused Shipment, neither Ms. Jones, Ms.

   Wallin, or any other employee of YRC and YRCW ever informed Plaintiff that he would

   (allegedly) need to first fill out the paperwork explicitly attached as Exhibit A to YRC's

   Amended Answer to Plaintiff's First Amended Complaint in order to receive a refund of

   the $244 credit card payment that he’d made as the prepayment for the Refused Shipment

   that YRC cancelled and refused to accept on March 24th, 2020.

108.      The document attached as Exhibit A of YRC’s Amended Answer to Plaintiff's

   First Amended Complaint is dated April 25th, 2020 and states as its heading, "Notice of

   Duplicate or Overpayment. This is not a bill."

109.      The document attached as Exhibit A of YRC’s Amended Answer to Plaintiff's

   First Amended Complaint states in part in its body, "Our records indicate you may be

   due a refund. If you agree with the information shown, please complete the attached form

   and return via mail or fax.   Should you request a refund, a refund check will be issued to

   your company upon receipt of the completed form."

110.      Even if YRC had hypothetically “communicated” and intended for Plaintiff to

   rely on the document attached as Exhibit A to its Amended Answer to Plaintiff's First

   Amended Complaint in order to obtain a refund of his prepayment ($244) for the Refused

   Shipment, said document is deceptive in content in that YRC and YRCW, through their

   employees Trevor Blaylock, Kathy Jones, Karry Wallin, and Tim Mckinstry, already had

   actual knowledge and had explicitly identified in an internal email on March 25th, 2020

   that Plaintiff was for fact due a refund on the Refused Shipment because it had

   deliberately cancelled said shipment and rejected its acceptance from Plaintiff on March



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   24th, 2020—and not that Plaintiff may have been due a refund as the document states.

   Further, the letter is deceptive in content because YRC and YRCW also had actual

   knowledge (since March 24th and March 25th, 2020) that Plaintiff had already inquired

   multiple times about receiving a refund of his prepayment for the Refused Shipment, and

   as such, that there was no legal or other reasonable basis for Plaintiff to have to fill out

   “paperwork” in order to again confirm that.

111.      Even if YRC had hypothetically “communicated” and intended for Plaintiff to

   rely on the document attached as Exhibit A to its Amended Answer to Plaintiff's First

   Amended Complaint as it alleges it did at paragraph 78 therein, said document was not

   delivered in a reasonably timely manner since it is dated April 25th, 2020—over a month

   after the date that YRC refused to accept the Refused Shipment (March 24th, 2020, the

   same day that Plaintiff prepaid for the Refused Shipment through YRC’s website

   payment portal), and a month after Plaintiff had already inquired in writing to Kathy

   Jones about obtaining a refund for the Refused Shipment (as set forth in paragraph 73

   herein).

112.      The document attached as Exhibit A of YRC’s Amended Answer to Plaintiff's

   First Amended Complaint further specifies that in order to obtain a refund, Plaintiff

   would have had to first mail and/or fax a completed form for YRC to review, and if

   eventually approved, then wait for YRC to issue a refund check by mail delivery. Thus,

   even if Plaintiff had hypothetically received this document on or around April 25th, 2020

   (the date stated on its heading), YRC’s delayed delivery and its unreasonable

   requirements for obtaining a credit card refund would have constituted both an unfair

   delay and unfair retainment of Plaintiff’s prepaid funds for services that YRC deliberately



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   failed to render over a month prior (and knew at least as early as March 11th, 2020 that it

   had no intention of rendering).

113.      Moreover, despite the fact that the document attached as Exhibit A of YRC’s

   Amended Answer to Plaintiff's First Amended Complaint states as its heading, "Notice of

   Duplicate or Overpayment,” YRC had and has actual knowledge that Plaintiff’s pre-

   payment for the Refused Shipment was not a “duplicate” or “overpayment” as those two

   terms are explicitly defined in YRC’s Tariff 100, Item 179 (Exhibit I hereto), but rather,

   that it was a pre-payment (by credit card) for a shipment that YRC itself admits (at

   paragraph 78 of its Amended Answer to Plaintiff’s First Amended Complaint) to

   identifying as a “cancelled shipment” (i.e. the Refused Shipment that it refused to accept

   for drop-off from Plaintiff on March 24th, 2020).

114.      As such, even if Plaintiff had hypothetically ever received the document attached

   as Exhibit A of YRC’s Amended Answer to Plaintiff's First Amended Complaint, the

   language of the document specifying that it was a “notice of duplicate or overpayment”

   was misrepresented in content and otherwise wholly inapplicable to the circumstances of

   which warranted a refund, and therefore, YRC’s alleged intention that Plaintiff rely on

   the language of said document, and particularly that Plaintiff would have first needed to

   complete and mail/fax the document to YRC’s attention in order for Plaintiff to obtain the

   credit card refund that it had already identified and had actual knowledge (as of March

   25th, 2020) was due back to Plaintiff for the services it intentionally failed to render on

   March 24th, 2020, is both an unfair act and a deceptive act under 815 ILCS 505/2.

115.      In any regard, YRC’s intentional retainment of Plaintiff’s $244 in prepaid funds

   between March 24th, 2020 and June 29th, 2020 for services it deliberately failed to render



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   on the Refused Shipment (on March 24th, 2020), and already knew that it had no intention

   of rendering because it had banned Plaintiff as a customer (as early as or about March

   11th, 2020), constitutes both an unfair and deceptive act pursuant to 815 ILCS 505/2.

116.      As a proximate result of Plaintiff’s reliance on YRC’s and YRCW’s deceptive

   and unfair acts and omissions as specified in paragraphs 89 through 115 herein, including

   those acts committed by their employees, all of which violate 815 ILCS 505/2, Plaintiff

   incurred actual economic losses in the amount of $488.87, including $244 in prepaid

   freight charges for the Refused Shipment of which YRC deliberately retained starting on

   March 24th, 2020 and then retroactively electronically-refunded on June 26th, 2020

   (clearing on June 29th, 2020) only after necessitating that Plaintiff file the instant lawsuit

   to recover said amount as set forth in paragraphs 82 through 87 herein; $169.87 for the

   increased difference in cost paid ($413.87) by Plaintiff to ship the Refused Shipment

   through FedEx Freight on short notice instead of the original amount ($244) that he’d

   prepaid to YRC via credit card on March 24th, 2020; and $75 as paid by Plaintiff directly

   to his father (Frank Martino, a general contractor) on March 24th, 2020 for the shipping

   rope used to prepare the Refused Shipment for transit of which Plaintiff was forced to

   destroy in order to remove the Refused Shipment from YRC’s Wheeling, IL freight

   terminal on March 24th, 2020 as instructed by YRC’s employee (as explicitly referenced

   in paragraphs 61-63 herein), as well as for borrowing his father’s SUV to transport the

   Refused Shipment to YRC’s freight terminal in Wheeling, Illinois and his father’s

   time/assistance in preparing the Refused Shipment for transit on that date (and again on

   the following date in re-preparing/re-transporting the Refused Shipment to FedEx Freight

   in Des Plaines, IL)—all of which YRC and YRCW are directly and/or vicariously liable



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   to reimburse.

117.      Additionally, Plaintiff incurred aggravation, inconvenience, and public

   humiliation of which manifested in physical symptoms of emotional distress on March

   24th, 2020, including, inter alia, an exacerbation of preexisting asthma, all as a proximate

   result of YRC and YRCW’s unfair and deceptive acts as explicitly referenced in

   paragraphs 52 through 87 herein.

118.      Furthermore, YRC and YRCW intend for all YRC customers, including Plaintiff,

   to rely on the expressed language of YRC’s Tariff 100, Item 179 (“Filing of Claims) of

   which itemizes/defines its claims and litigation processes, but deceptively omits from

   said language of Tariff 100, Item 179, the material fact that YRC and YRCW’s (unfair)

   business practice is to ban (as customers) individual shippers such as Plaintiff (as

   opposed to incorporated business entity shippers) that file a single lawsuit against YRC

   as arising out of one of YRC’s claim denials—regardless of the merits of the claim and

   YRC’s denial, and regardless of an individual shipper’s [including Plaintiff’s] low

   shipment to damage-claim ratio and long-established track record of shipping with YRC

   without historical incident of submitted damage claims.     A copy of Defendant’s Tariff

   100, Item 179 is attached hereto as EXHIBIT I.

118(A).      Additionally, as part of its unfair and deceptive business practice as set forth in

   paragraph 118, YRC and YRCW also intentionally conceal from those individual

   shippers/customers they’ve internally banned (including from Plaintiff), the actual

   material knowledge that they’ve been banned, and do not reveal such material knowledge

   until only after such time the banned individual shippers/customers (including Plaintiff)

   schedule and/or electronically prepay (via credit card) for further transportation services



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   through YRC’s public website (not knowing that such further transportation services will

   actually be refused at the immediate time of drop-off a scheduled shipment at one of

   YRC’s freight terminals due to the ban).        YRC then intentionally and indefinitely retains

   these banned shippers/individuals’ (including Plaintiff’s) electronically-prepaid funds

   without issuing an immediate refund, and does so under the false pretense that such

   electronically-prepaid funds fall into one of the categories of payments enumerated under

   49 CFR § 378.2 (e.g. “overcharge”, “duplicate” payments, or “unidentified”

   payments) of which requires claimants to first complete and return paperwork to YRC

   over a period of weeks or months in order to obtain the owed refund, or otherwise retains

   such prepaid funds until the banned individual shipper/customer is otherwise compelled

   to file a lawsuit in order to obtain the owed refund for the transportation services YRC

   never rendered.

119.       As such, because YRC and YRCW also had/have no legitimate basis of any kind

   to assert that Plaintiff’s Subject Damage Claim was fraudulent and/or otherwise

   illegitimate, YRC and YRCW only retroactively fabricated such allegations so as to

   justify their ban of Plaintiff as a customer in direct retaliation for Plaintiff having filed his

   prior small claims action against YRC concerning the Subject Damage Claim, and also so

   as to avoid taking professional accountability as a motor carrier due to the fact that YRC

   and YRCW have actual knowledge (per Plaintiff’s previous pro se small claims lawsuit)

   that Plaintiff might again file a pro se lawsuit against YRC in the future in the

   hypothetical event that YRC were to again negligently cause damage to one of his freight

   shipments and then again deny his respective damage claim without a valid basis or a

   thorough investigation—including filing a pro se lawsuit arising out of damage claims of



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   even relatively low value that would be subject to small claims court-jurisdiction (such as

   the Subject Damage Claim).

120.       Because Plaintiff sustained actual pecuniary losses as specified in paragraph 116

   herein as proximately resulting from Defendant’s intentionally unfair and deceptive acts

   and practices, Plaintiff is also entitled to compensatory damages for aggravation,

   inconvenience, public humiliation, and physical manifestations of emotional distress, as

   well as punitive damages, as pursuant to 815 ILCS 505/10a.

   SECOND CLAIM FOR RELIEF – DEFAMATION PER SE AGAINST
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121.       Plaintiff re-alleges and incorporates by reference each and every allegation and

   statement contained in the preceding paragraphs with the same force and effect as if fully

   set forth at length herein.

122.       In its full context and entirety, the memo/email directive (Exhibit H hereto)

   composed on March 11th, 2020 by YRC and/or YRCW’s Wheeling, Illinois freight

   terminal manager, Karry Wallin, and of which was published to numerous YRC and/or

   YRCW employees (and potentially other unknown parties) as specifically referenced in

   paragraphs 56-57 herein, contains false statements of fact, false and misleading

   implications, and deliberate omissions of material exculpatory facts which if included

   would’ve directly negated the implied defamatory meaning and false impressions, and

   instead would’ve conveyed a fair account.     As a proximate result, the published

   memo/email prejudices Plaintiff in his business, imputes a lack of integrity in Plaintiff’s

   performance of his employment duties, and also imputes that Plaintiff defrauded YRC

   through the submission of his prior damage claim (i.e. the Subject Damage Claim) and

   small claim lawsuit, thus justifying YRC and YRCW’s ban of Plaintiff as a customer.

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123.      The lines of Ms. Wallin’s email directive that specifically state, “I’m not sure

   what this looked like as it wasn’t signed for damaged at the destination.   No exceptions

   in our system. This frt [“freight”] delivered clear and we denied his claim and now we

   have a lawsuit. The claim is for $1200 for a stainless steel steam oven,” contains false

   statements of material fact because Ms. Wallin personally had actual and constructive

   knowledge at the immediate time she published the statement that the shipment

   referenced within the Subject Damage Claim factually did not deliver “clear”, but in

   reality, was delivered by YRC with concealed damage to a different receiver (“Crosey”

   as referenced in paragraph 11 herein) than the one explicitly named in the BOL (Mr.

   Nicola Dicio) and was never actually inspected at the immediate time of delivery either

   by the unknown receiver that signed for receipt (“Crosey”), the intended receiver named

   on the BOL (Mr. Dicio), or by YRC’s delivery driver.

124.      Additionally, Ms. Wallin’s statement that she wasn’t “sure what this looked like

   as it wasn’t signed for damaged at the destination” is a false statement of fact because

   Ms. Wallin had both actual and constructive knowledge at the immediate time that she

   published the statement that her own co-employees at the Wheeling, Illinois freight

   terminal (of which she manages) verifiably inspected, accepted, and signed the BOL

   attesting that YRC received the shipment in “apparent good order” at the immediate time

   that Plaintiff had personally dropped it off at her terminal on 1/27/20 (Exhibit A

   hereto)—an exculpatory fact of which was already known to Ms. Wallin and YRC’s

   entire claims department on March 11th, 2020, and of which if included in her published

   memo/email to her co-employees would have negated the implication that Plaintiff’s

   submitted claim for damage and subsequent lawsuit was improper and fraudulent.



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125.      Further, on the exact date that Ms. Wallin published her memo/email (March 11,

   2020), both she and YRC/YRCW knew or should have known that the lawsuit she was

   referencing therein had already been mutually settled and dismissed; that the amount

   sought by Plaintiff in his submitted damage claim to YRC for the steam oven (prior to its

   denial) was not $1200 but only $670 (the actual cost for replacement parts—as opposed

   to an unjustified windfall of $1200); that the amount ($1,231.52) that Plaintiff sought in

   his filed small claims lawsuit against YRC consisted of nothing more than his actual

   losses as a direct result of YRC’s baseless claim denial (including costs of suit that

   Plaintiff was compelled to incur); that YRC voluntarily failed to appear and/or defend the

   lawsuit; that during the settlement of the lawsuit YRC and/or YRCW’s Senior Sr. Legal

   Analyst (Kathy Jones) stated to Plaintiff in an email that YRC “regretted that it was

   necessary” for Plaintiff to had to have filed the small claims lawsuit against it regarding

   the Subject Damage Claim; that YRC never legitimately investigated Plaintiff’s damage

   claim; and that YRC and/or YRCW’s own claims examiner (Liz Hadermann) had stated

   in YRC’s claim denial letter to Plaintiff regarding the steam oven on 1/30/20 that “Due to

   the nature and extent of the shattered glass, we feel that this would be easily noticed and

   should have been noted on the delivery receipt,” and as such, had unequivocally admitted

   that the shattered glass—if it had hypothetically already existed at the immediate time it

   was dropped off by Plaintiff at YRC’s dock terminal in Wheeling, Illinois—would have

   also been “easily noticed” at the time it was personally dropped off at its terminal by

   Plaintiff and should have been noted by YRC itself at the immediate time Ms. Wallin’s

   own co-employee inspected/accepted the shipment and signed the BOL attesting to

   YRC’s receipt of the shipment in apparent good order prior to its transit (Exhibit A



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   hereto).

126.      The lines of Ms. Wallin’s memo/email as referenced in paragraphs 123-124

   herein of which were deliberately published to numerous YRC and/or YRCW employees

   without the inclusion of the material exculpatory facts referenced in paragraphs 123-125,

   and when construed within the full context of the memo/email, creates the false and

   misleading implication that Plaintiff is of such unscrupulous business integrity that he

   had knowingly submitted an illegitimate damage claim to YRC and/or knowingly

   shipped pre-damaged goods with the intent of then collecting unwarranted monetary

   sums from YRC through the illegitimate damage claim (i.e. committed a fraud);

   intentionally sued YRC for an unwarranted monetary sum after his illegitimate damage

   claim was denied by YRC’s claims department; and that YRC’s claims department

   therefore had instructed her to personally inform the employees of the Wheeling, Illinois

   freight terminal not to accept any further shipments from Plaintiff when he attempts

   another drop off due to the risk that Plaintiff would repeat such actions.

127.      The line of Ms. Wallin’s memo directive that specifically state, “But just in case

   he calls in for a pickup or tries this with a different name we should make sure the frt

   [freight] is packaged properly,” falsely implies in the full context and intent of the

   memo/email that YRC and YRCW determined as fact that Plaintiff has such

   unscrupulous business integrity that he’d deliberately fabricate a different name solely so

   as to deceive YRC into accepting one of his shipments against its intent, and thus why

   she was instructed by YRC and YRCW’s claims department employees (Trevor Blaylock

   and Kathy Jones) to notify her fellow terminal employees at the Wheeling, Illinois

   terminal not to accept any further shipments from Plaintiff as a business customer.



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128.        The words within Ms. Wallin’s that specifically state, “or tries this…” also

   falsely insinuates as fact in the full context of her memo/email that Plaintiff had already

   committed a deceptive business act against YRC through the submission of his damage

   claim, and is thus the reason why YRC and YRCW’s claims department employees

   (Trevor Blaylock and Kathy Jones) had instructed her/her terminal not to accept any

   further shipments from Plaintiff as a business customer.

129.       The line of Ms. Wallin’s memo directive that specifically state, “…and now we

   have a lawsuit…” contains a false statement of fact in that on the exact date Ms. Wallin

   composed and distributed the memo to YRC employees, Plaintiff’s lawsuit had already

   been mutually settled with YRC, and in fact, the lawsuit had already been verifiably

   voluntarily dismissed from the Circuit Court of Cook County Third Municipal District as

   of March 9th, 2020.     As such, the timing of Ms. Wallin’s memo directive (March 11th,

   2020) establishes that YRC and YRCW deliberately waited to notify Ms. Wallin of their

   decision to ban Plaintiff as a business customer until only after said lawsuit had first been

   verifiably settled and dismissed, and also intentionally concealed such decision from

   Plaintiff at all times during the settlement of said lawsuit.

130.       The fact that the subject line of Ms. Wallin’s 3/11/20 memo/email states, “drop

   off,” and that the body states, “It is a drop off on the dock. But just in case he calls in for

   a pickup…,” establishes Defendants’ (and Ms. Wallin personally) actual and constructive

   knowledge that Plaintiff was a longstanding established business customer of YRC’s of

   whom regularly dropped off all of his shipments at YRC’s Wheeling, Illinois freight

   terminal in person (as opposed to Plaintiff requesting that YRC pickup his shipments

   from his own various locations).



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131.      As such, instead of ever notifying Plaintiff himself that he’d been banned (as of

   March 11th, 2020) as a customer of YRC so that he’d have known he was not welcome to

   schedule/prepay and/or drop off any further shipments, Ms. Wallin (at the direct

   instruction of YRC and YRCW claims department employees and managers including

   but not limited to Trevor Blaylock and Kathy Jones) consciously disregarded Plaintiff’s

   rights and reputation and published her March 11th, 2020 memo/email to numerous YRC

   and/or YRCW employees, including many that are employed at YRC’s Wheeling, IL

   terminal.   In fact, Plaintiff wasn’t finally notified that he’d been banned as a customer of

   YRC until March 24th, 2020 while actually attempting to drop off another shipment that

   he’d prepaid for on that same date through YRC’s public website (the Refused Shipment)

   as previously set forth at paragraphs 53-57 herein.

132.      The fact that the subject line of Ms. Wallin’s 3/11/20 memo/email states, “drop

   off,” and that the body therein states, “It is a drop off on the dock. But just in case he

   calls in for a pickup…,” plainly indicates that Defendants intended for Ms. Wallin to

   conceal their ban of Plaintiff as a customer until after such time that Plaintiff had already

   scheduled and prepaid for a future shipment through YRC’s public website and attempted

   to drop it off at YRC’s Wheeling, IL terminal (i.e. the “Refused Shipment”), since

   between March 11th, 2020 and March 24th, 2020 neither Ms. Wallin nor any other

   employee of YRC and/or YRCW ever disclosed to Plaintiff that he’d been banned as a

   customer, nor ever served Plaintiff with a no-trespass order.

133.      None of the libelous statements published about Plaintiff by Ms. Wallin to YRC

   employees as referenced on Exhibit H hereto were/are protected by privilege.

134.      To the extent that any of Ms. Wallin’s statements about Plaintiff as published to



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   her employees as referenced on Exhibit H hereto could be considered as protected by

   privilege, such privilege was deliberately abused by Ms. Wallin based directly upon her

   deliberate and/or reckless disregard for Plaintiff’s rights in her failure to investigate the

   truth of her statements and the unnecessary scope of content that she published of which

   creates a false impression about Plaintiff.    Notably, even setting aside Ms. Wallin’s

   failure to first notify Plaintiff himself of YRC’s ban, Ms. Wallin could have still

   conveyed to her employees YRC and YRCW’s instruction of not accepting any further

   shipments from Plaintiff by simply publishing a memo/email of which stated only that

   fact alone while leaving out all of her false statements of fact, or alternatively, publish a

   memo/email of which included the material exculpatory facts of which she deliberately

   omitted as set forth in paragraphs 123-125 herein, and of which she knew or should have

   known on March 11th, 2020

135.      None of Ms. Wallin’s statements published about Plaintiff in Exhibit H hereto can

   be reasonably construed as having an innocent construction when interpreted in its full

   context, particularly the lines “WE will not except any more frt [freight] from this

   customer. Anthony Martino”, and “Claims dept has requested that we do not except

   [accept] any more frt [freight] from this customer,” of which clearly conveyed that

   Plaintiff was being banned as a customer for the reasons specifically referenced and

   implied in her email/memo.

136.      To the extent that Ms. Wallin was specifically directed by individual(s) employed

   by YRC and/or YRCW to publish the statements made about Plaintiff thereon Exhibit H

   hereto without including the known exculpatory facts that of which if included would’ve

   directly negated the false meaning conveyed about Plaintiff, such individual(s) is/are



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   jointly culpable for permitting, participating, and or encouraging her publication of false

   statements of fact and libelous implications of which prejudices Plaintiff in his business,

   that imputes a lack integrity in Plaintiff’s performance of his employment duties, and also

   that imputes that Plaintiff committed fraud against YRC through his prior damage claim

   (i.e. the Subject Damage Claim) and small claim lawsuit.

137.      Additionally, during the phone call with Plaintiff on March 25th, 2020, YRC

   and/or YRCW’s Senior Sr. Legal Analyst, Kathy Jones, published a slanderous statement

   about Plaintiff to Plaintiff’s father of whom she was made aware was listening into the

   phone call via Plaintiff’s amplified speakerphone setting (as referenced in paragraph 69

   herein).   Notably, Ms. Jones’ statement (in part): “… Our claims department

   investigated your damage claim and determined it contained elements of fraud.         Based

   on their determination, it went up to our legal department and they made the decision…”

   reasonably implies that Plaintiff had committed a fraud through his submission of the

   Subject Damage Claim, and thus the reason that Plaintiff was banned as a customer.

138.      Furthermore, Ms. Jones’ statement as referenced in paragraph 137 herein is both a

   false statement of material fact and a false implication about Plaintiff in that Plaintiff’s

   damage claim (the Subject Damage Claim) did not contain any elements of fraud, was

   not fraudulent, and as such, YRC and/or YRCW’s claims department couldn’t have

   legitimately contended that Plaintiff committed fraud against YRC to justify its decision

   to ban Plaintiff as a customer.

139.      Moreover, Plaintiff’s Subject Damage Claim for $670 was an entirely valid claim

   for partial damage to a shipment of which was reported to YRC by Plaintiff only a couple

   of hours after it was delivered to the consignee’s address, and of which after receipt of



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   the claim from Plaintiff, YRC and/or YRCW’s claims department never contacted the

   consignee or inspected the shipment as part of its alleged investigation prior to denying it.

140.      Ms. Jones’ slanderous statement published about Plaintiff as referenced in

   paragraph 137 was not protected by any privilege.

141.      To the extent that Ms. Jones’ statement about Plaintiff as published to Plaintiff’s

   father as referenced in paragraph 137 herein could be considered as protected by

   privilege, such privilege was deliberately abused by Ms. Jones based directly upon her

   reckless disregard for Plaintiff’s rights and reputation in the unnecessary scope of her

   statement.   Specifically, Ms. Jones could have conveyed to Plaintiff (and his father) that

   she didn’t personally make the decision to ban Plaintiff as a shipping customer and that

   the decision had been made by YRC and/or YRCW’s legal department, while specifically

   refraining to include the defaming statement, “Our claims department investigated your

   damage claim and determined it contained elements of fraud.”

142.        Ms. Jones’ slanderous statement as published about Plaintiff as referenced in

   paragraph 137 also cannot reasonably be construed as having an innocent construction,

   particularly when interpreted in context with YRC and YRCW’s action of actually

   banning Plaintiff as a customer and having their employees demand he leave its

   Wheeling, Illinois freight terminal with the Refused Shipment on March 24th, 2020.

143.      Because all of the libelous and slanderous statements published about Plaintiff to

   third-parties by Karry Wallin and Kathy Jones as referenced herein this Complaint were

   made during the scope of their employment with YRC and/or YRCW, in furtherance of

   their employment-related activities, and at the direct instruction of YRC and/or YRCW,

   YRC and YRCW are vicariously liable as their employer under the respondeat superior



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   doctrine.

144.       Moreover, YRC and/or YRCW’s employees (Ms. Wallin and Ms. Jones) had

   actual and constructive knowledge that the libelous and slanderous statements published

   about Plaintiff were false and imputed a false impression at the immediate time of their

   publication, and also that such publication deliberately omitted material exculpatory facts

   of which if included would’ve directly negated its implied defamatory meaning and false

   impressions about Plaintiff, and instead would’ve conveyed a fair account about

   Plaintiff’s professional reputation, business integrity, and actions.

145.       As a proximate result of the libelous and slanderous statements published about

   him, Plaintiff has sustained significant emotional distress, including anxiety,

   embarrassment and humiliation.       Furthermore, it is reasonably presumed that Plaintiff’s

   personal reputation has been tarnished, and that he also has been and will be further

   personally prejudiced in his business based on the grossly false implications made about

   him and his prior Subject Damage Claim by YRC and YRCW employees as previously

   referenced herein this complaint.

         THIRD CLAIM FOR RELIEF – DEFAMATION PER QUOD
                   AGAINST ALL DEFENDANTS

146.       Plaintiff re-alleges and incorporates by reference each and every allegation,

   statement, and extrinsic fact contained in the preceding paragraphs with the same force

   and effect as if fully set forth at length herein.

147.       The false statements and implications written about Plaintiff and published to

   numerous individuals on March 11th, 2020 by YRC and/or YRCW employee, Karry

   Wallin, as set forth in paragraphs 56-57 and paragraphs 121-145 herein, proximately

   caused Plaintiff special damages in the amount of $488.87, in that the publication itself

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   (i.e. the email/memo) served as the actual basis for YRC and/or YRCW employees

   Monica Cepauskas and Dan Trueman to refuse to accept Plaintiff’s prepaid shipment on

   March 24th, 2020 when he attempted to drop if off at YRC’s Wheeling, Illinois freight

   terminal (as set forth in paragraphs 52-63 herein).

148.       Because Ms. Wallin’s publication was made during the scope of her employment

   with YRC and/or YRCW, in furtherance of her employment-related activities, and at the

   direct instruction other of YRC and/or YRCW employees (including Kathy Jones), YRC

   and YRCW are vicariously liable as her employer under the respondeat superior

   doctrine.

149.       Because Plaintiff incurred actual pecuniary loss as a direct result of Ms. Wallin’s

   publication, Plaintiff is entitled to compensatory damages for emotional distress,

   including anxiety, embarrassment, humiliation, and damage to personal reputation.

       FOURTH CLAIM FOR RELIEF – NEGLIGENT SUPERVISION
                  AGAINST ALL DEFENDANTS

150.       Plaintiff re-alleges and incorporates by reference each and every allegation and

   statement contained in the preceding paragraphs with the same force and effect as if fully

   set forth at length herein.

151.       At all times, Defendants YRC and YRCW, as direct and/or joint-employers, owed

   Plaintiff—a known and established customer and business invitee of YRC—a duty of

   reasonable care to monitor, supervise, and/or control the conduct, interactions, and any

   extraordinary customer-relation decisions implemented by their employees of which

   could foreseeably cause direct harm or injury to its customers, including to Plaintiff.

152.       At all times, Defendants YRC and YRCW, as direct and/or joint-employers, had a

   right to control, monitor, and supervise their employees’ conduct, interactions, and

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   implemented customer-relations policies and decisions during the scope of their

   employment pursuant to the doctrine of respondeat superior.

153.      Furthermore, on March 24th, 2020, Defendant YRC and Plaintiff were in a special

   relationship defined as business invitor/invitee as set forth in paragraph 98 herein, and as

   such, Defendant YRC, Inc. as the owner and operator of its Wheeling, Illinois freight

   terminal owed a duty of care to, inter alia, protect Plaintiff from an unreasonable risk of

   foreseeable physical harm pursuant to §314A (1965) Restatement (Second) of Torts.

154.      On or about March 9th, 2020, following the settlement and dismissal of Plaintiff’s

   small claims lawsuit against YRC, YRCW employee Trevor Blaylock (Manager of

   Claims Prevention and Resolution) and YRC and/or YRCW employee Kathy Jones

   (Senior Legal Analyst-Claims Resolution), in consultation and concert with YRCW

   employee Kevin Oakleaf (In-house Counsel), and potentially other employees, made the

   ultimate decision to ban Plaintiff as a customer of YRC, but deliberately opted not to

   serve Plaintiff with a no-trespass order or otherwise notify him in any other manner that

   he’d been banned and was no longer welcome to continue scheduling/prepaying (through

   YRC’s public website) and dropping off any further shipments at YRC’s terminals.

155.      On March 11th, 2020, YRC and/or YRCW employee Kathy Jones sent an email

   with the subject line “Anthony Martino/Tony Martino” to YRC’s and/or YRCW’s

   Wheeling, IL freight Terminal Manager, Karry Wallin, and instructed Ms. Wallin that her

   terminal was no longer permitted to accept any future freight shipments from Plaintiff

   due to his having submitted the prior Subject Damage Claim and having filed the small

   claims lawsuit against YRC (of which was dismissed from the Cook County Circuit

   Court-Third Municipal District on March 9th, 2020).



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156.      However, at no time did Ms. Jones, Mr. Blaylock, Mr. Oakleaf, nor any of their

   direct superiors or any other employee of YRC or YRCW, including Ms. Wallin’s direct

   superior, YRC/YRCW Chicago-Area Vice President Tim McKintsry, ever instruct Ms.

   Wallin to notify Plaintiff that he was no longer welcome to continue

   scheduling/prepaying for new shipments through YRC’s public website or dropping off

   further shipments at any of YRC’s freight terminals as a result of his being banned as a

   customer.

157.      On March 11th 2020, Ms. Wallin composed and distributed her email/memo

   regarding Plaintiff (Exhibit H hereto) with the subject line “drop off” to numerous

   employees of YRC and/or YRCW, including to several that were/are employed at her

   Wheeling, Illinois freight terminal as set forth in paragraphs 56-57 herein (such as

   Monica Cepauskas and Dan Trueman), but never notified Plaintiff himself that he was no

   longer welcome to continue scheduling, prepaying and/or dropping off further shipments

   at her YRC terminal.

158.      At all times between February 26th, 2020 and March 24th, 2020, YRC and/or

   YRCW employees Kathy Jones, Karry Wallin, Trevor Blaylock, Kevin Oakleaf, and Tim

   McKinistry, and their direct superiors or supervisors, knew or should have known that by

   failing to inform Plaintiff at any point during the settlement discussions of the small

   claims lawsuit that he was no longer welcome as a customer of YRC; that by stating in an

   email to Plaintiff on March 2nd, 2020 that “[YRC] regret[s] that it was necessary for

   [Plaintiff] to file this claim” (paragraph 35 herein); that by never serving Plaintiff with a

   no-trespass order; that by accepting a new drop-off shipment from Plaintiff (personally)

   on March 9th, 2020 (paragraph 43 herein)—the same date that the small claims lawsuit



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   was dismissed; that by delivering Plaintiff’s March 9th drop-off shipment to a consignee

   in Jacksonville, Florida on March 18th, 2020 (paragraph 44 herein); that by voluntarily

   accepting a credit card payment from Plaintiff through its website’s payment portal on

   March 24th, 2020 for the scheduling of his next chronological shipment (the “Refused

   Shipment”); and by transmitting emails to Plaintiff on March 24th, 2020 that contained a

   bill of lading and shipping labels for the Refused Shipment and of which also explicitly

   stated therein: “Please take your provided Bill of Lading and shipment to the

   terminal whose address is below: YRC Terminal 303, 1000 CHADDICK DR

   Wheeling, IL 60090 USA”; it was reasonably foreseeable that Plaintiff would assume

   that he was still a welcome customer of YRC and continue to schedule/prepay for further

   shipments through YRC’s public website, and/or personally drop-off further prepaid

   shipments at YRC’s Wheeling, Illinois terminal (including on March 24th, 2020), just as

   he had done on a regular basis since January of 2018 (paragraph 6-7 & 51 herein).

159.      At all times between and including March 9th, 2020 and March 24th, 2020, YRC

   and/or YRCW employees Kathy Jones, Trevor Blaylock, and Kevin Oakleaf, and their

   direct superiors or supervisors, knew or should have known that by allowing and/or

   instructing Karry Wallin to publish/disseminate an email on March 11th, 2020 (Exhibit H

   hereto) to the employees of her Wheeling, Illinois freight terminal of which falsely

   implied, inter alia, that YRC/YRCW’s claims department was mandating that Plaintiff’s

   drop-off shipments no longer be accepted by her terminal due to Plaintiff’s prior damage

   claim/lawsuit allegedly being fraudulent, but without ever instructing or assuring that Ms.

   Wallin immediately notify Plaintiff himself of YRC’s mandate, it was reasonably

   foreseeable that an event of which could cause significant emotional distress to Plaintiff



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   would occur the next time that he would enter YRC’s Wheeling, Illinois freight terminal

   reasonably expecting to drop off a scheduled/prepaid shipment for transportation (i.e. the

   Refused Shipment on March 24th, 2020) and be taken completely by surprise when

   informed for the first time by the attending employees that he’d been banned as a

   customer due to his prior damage claim/lawsuit and that he’d need to immediately leave

   the premises with his shipment.

160.      At all times prior to March 24th, 2020, YRC and/or YRCW’s Chicago-Area Vice

   President, Tim McKintsry, and potentially other direct supervisors of Wheeling, Illinois

   terminal manager, Karry Wallin, failed to properly control, monitor and/or otherwise

   supervise Ms. Wallin, by allowing her the unrestricted ability to publish and disseminate

   an email (Exhibit H hereto) on March 11th, 2020 to numerous employees at her terminal

   with the subject line “drop off”, and of which explicitly referenced Plaintiff, Plaintiff’s

   prior damage claim/small claim lawsuit, and YRC/YRCW’s mandate that her terminal

   was no longer permitted to accept any further shipments from Plaintiff should he again

   enter the premises expecting to drop one off—but without requiring that Ms. Wallin ever

   notify Plaintiff himself that he’d been banned as a customer prior to him

   scheduling/prepaying for further shipments through YRC’s public website and personally

   appearing at the Wheeling, IL freight terminal on March 24th, 2020 attempting to drop-off

   a scheduled and prepaid shipment for transportation (i.e. the “Refused Shipment”).

161.      At all times between March 11th, 2020 and March 24th, 2020, YRC and/or

   YRCW’s Wheeling, Illinois terminal manager, Karry Wallin, failed to monitor, supervise

   and/or otherwise control the scope and accuracy of the information that would be

   publicly conveyed about Plaintiff by the local employees at her terminal (including Dan



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   Trueman as set forth in paragraphs 56-62 herein) of whom had received her published

   email, and most particularly at the precise time she had actual knowledge that Plaintiff

   would be entering the Wheeling, Illinois freight terminal (on March 24th, 2020) to drop

   off the prepaid Refused Shipment, so as to ensure that a publicly humiliating event for

   Plaintiff would not occur when he entered (as it did on that date).

162.      At all times between March 24th, 2020 and the filing date of this lawsuit, YRC

   and YRCW failed to supervise and/or monitor each of the employees that had actual

   knowledge that Plaintiff was due a refund in the amount of $244 of which he’d explicitly

   prepaid on that date for the transportation of the Refused Shipment, including but not

   limited to Trevor Blaylock, Kathy Jones, T.J O’Connor, Karry Wallin, Tim McKinistry,

   Bob Shockley, and Melissa Tomlen, so as to ensure that said employees conveyed to

   YRC’s billing department that a refund was immediately due to Plaintiff as a result of

   YRC refusing to accept the Refused Shipment on March 24th, 2020.        As a proximate

   result, YRC willfully retained Plaintiff’s prepaid funds until on or about June 26th, 2020.

163.      At all times whatsoever, YRC and YRCW knew or should have known that by

   failing to control, supervise, and/or monitor their claims and legal department employees’

   (including but not limited to Trevor Blaylock, Kathy Jones and Kevin Oakleaf) ability to

   independently make the decision to internally ban an established and regular customer

   (including Plaintiff) in such a manner that at all times deliberately and/or negligently

   conceals such decision from that same customer (including Plaintiff), an emotionally-

   distressing altercation of which could cause physical harm would likely occur where that

   same customer (including Plaintiff) schedules & prepays (via credit card) for the

   transportation of a further freight shipment through YRC’s publicly accessible website,



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   prepares and attempts to personally drop-off the respective prepaid shipment at one of

   YRC’s freight terminals, but is then taken completely by surprise when only informed for

   the very first time in person by the local employees at a given YRC freight terminal that

   the scheduled/prepaid shipment cannot be accepted because the customer (including

   Plaintiff) has already been banned by YRC and YRCW’s claims department.

164.       As set forth in paragraphs 154-163 herein, YRC and YRCW breached its duty to

   protect Plaintiff from an unreasonable risk of physical harm as a business invitee, and

   also breached its duty to properly monitor, supervise, and control their employees’

   conduct, interactions, and implementation of the extraordinary decision to ban Plaintiff as

   a customer/business invitee of YRC on March 11th, 2020 without ever informing him of

   same, in that Plaintiff subsequently scheduled and prepaid for a shipment (the Refused

   Shipment) through YRC’s public website on March 24th, 2020, entered YRC’s Wheeling,

   Illinois freight terminal on March 24th, 2020 expecting to personally drop off the prepaid

   shipment, but was instead publicly humiliated by YRC employees Dan Trueman and

   Monica Cepauskas as set forth in paragraphs 52-65 herein.

165.       As a proximate result of YRC and YRCW’s breach of duties, Plaintiff incurred

   substantial aggravation and embarrassment, manifesting in physical symptoms of

   emotional distress, including but not limited to an exacerbation of preexisting asthma, of

   which YRC and YRCW are liable as direct and/or joint employers.

       FIFTH CLAIM FOR RELIEF – NEGLIGENT INFLICTION OF
         EMOTIONAL DISTRESS AGAINST ALL DEFENDANTS

166.       Plaintiff re-alleges and incorporates by reference each and every allegation and

   statement contained in the preceding paragraphs with the same force and effect as if fully

   set forth at length herein.

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   167.       As a proximate result of YRC and YRCW breaching the duties it owed to Plaintiff

       as set forth in paragraphs 151 and 153 herein, Plaintiff directly incurred substantial

       aggravation, humiliation and embarrassment, manifesting in physical symptoms of

       emotional distress, including but not limited to an exacerbation of preexisting asthma, of

       which YRC and YRCW are liable.

             WHEREFORE, having stated his causes of action, Plaintiff prays for judgment as

follows:

       A.     Compensatory damages against YRC, Inc. in the amount of $244.87 (after
              applying YRC Inc.’s retroactive refund of the $244 as set forth in paragraphs 80-
              87 for violation of 815 ILCS 505/2 (Illinois Consumer Fraud and Deceptive
              Business Practices Act);

       B.     Compensatory damages against YRC, Inc. in the amount of $25,000 for emotional
              distress, aggravation, and inconvenience for violation of 815 ILCS 505/2 (Illinois
              Consumer Fraud and Deceptive Business Practices Act), or in the alternative, for
              emotional distress, aggravation, and inconvenience arising out of negligent
              supervision or negligent infliction of emotional distress;

       C.     Compensatory damages against YRC, Worldwide, Inc. in the amount of $25,000
              for emotional distress, aggravation, and inconvenience arising out of negligent
              supervision or negligent infliction of emotional distress;

       D.     Punitive damages in the amount of $75,000 against Defendant YRC Inc., for
              violation of 815 ILCS 505/2 (Illinois Consumer Fraud and Deceptive Business
              Practices Act), or in the alternative, for the grossly negligent supervision of its
              employees in willful disregard of Plaintiff’s rights;

       E.     Punitive damages in the amount of $75,000 against YRC, Worldwide, Inc. for the
              grossly negligent supervision of its employees in willful disregard of Plaintiff’s
              rights;

       F.     Compensatory damages against both Defendants in the total amount of $300,000
              for defamation per se, or in the alternative, defamation per quod;

       G.     Punitive damages in the total amount of $900,000 against both Defendants for
              defamation per se or in the alternative defamation per quod;

       H.     Plaintiff s costs in this action;



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           I.     Plaintiff s reasonable attorney's fees if incurred in this action pursuant to 815
                  ILCS 505/10a;

           J.     Such other and further relief as the Court may deem just and proper.



                                                                               Respectfully submitted,

                                                                            By:   /s/Anthony Martino
                                                                                     Anthony Martino
                                                                                       P.O Box 5558
                                                                             Buffalo Grove, IL 60089
                                                                         tony@tonymartinomusic.com
                                                                                       847-977-4128


                                               JURY DEMAND

           Plaintiff, Anthony Martino, hereby demands a trial by jury on all claims in this action so

triable.

                                                                               Respectfully submitted,


                                                                            By:   /s/Anthony Martino
                                                                                     Anthony Martino
                                                                                             Plaintiff
                                                                                       P.O Box 5558
                                                                             Buffalo Grove, IL 60089
                                                                         tony@tonymartinomusic.com
                                                                                       847-977-4128




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-                                                                                                negotiable                                                                                      call 1-800-610-6500
      Web straight bitl of lading-original-not
       yRC                                          SCA.: -xDWr                                                                                                                                  349-045518'0

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       ANTHONY MARTINO Yo YRC TERMINAL 303
                                                                                                                                                 2031 PENN AVE
       lOOO CHADDICK DR
                                                                                                                                                 PITTSBURGH                                                                PA              15222
                                                                                   IL         60090
       WHEELING
                                                                                                                                                 (4121 287-5721


       ANTHONY MARTINO

       5SO VERNON LN
                                                                                                                                                 DECLARED VALU E: $ 3650 FOR TOTAL GROSS WEIGHT
       Attn; ANTHONY MARTINO

       BUFFALO GROVE                                                           IL            60089
                                                                                                                                                Contact Phone:
        Contact Name:


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        E Guaranteed Standard Seruice by 5 p.m or end of business day
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        E Guamnt*d Multiday Wndw Between:-/-                                   r


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       Quote l.D.: 40689434                                                                                              All shipments are subiect to individual pricing programs as published by YRC or by written
                                                                                                                                                                                                                    transportation @ntracts'



           Cod fee: Prepaid E collst fl                                                         COD amount: $                                              Customer check OK for COD amount?                                                     Yes D        No !l

               No,                                                                                                                                                                                               weight (lb)
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                                                                                   Cargo Claims Department
                                                                                   PO Box 7903
                                                                                   Overland Park, KS 66207
                                                                                   Phone: 913-344-5174




JANUARY 30, 2020


ANTHONY MARTINO
ANTHONY MARTINO
1000 CHADDICK DRYRC TERMINAL
WHEELING IL 60090


Your Claim Number:
Our Claim Number:                 36-775857
Claim Amount:                     $670.82
Our Pro Number:                   349-045518-0 01/27/2020

This letter refers to your claim involving the above freight bill number.

This shipment was signed for as having been in good condition at the time of delivery. The damage you
are claiming was reported after our clear delivery.

In reviewing the supporting documents and photos, this was visible damage not noted. Due to the nature
and extent of the shattered glass, we feel that this would be easily noticed and should have been noted on
the delivery receipt. It is the duty of the consignee, regardless of authority or experience, to notate any
damage on the delivery receipt at the time of delivery.

When visible damage is reported after a clear delivery, documented evidence must be submitted to show
that the damage was caused by the carrier. At present, your file does not contain documented evidence
showing the damage occurred while the goods were in our possession.

In the absence of evidence that the damage was carrier caused, we have no alternative at this time but to
decline your claim as filed. Please know that your claim was carefully reviewed - our goal is always a fair
and legal outcome.

LIZ HADERMANN
Sr. Claim Resolution Specialist
CARGO CLAIMS DEPARTMENT
(913)344-5173
Liz.Hadermann@yrcfreight.com

Claim Status information is available on-line at www.yrc.com > Manage > Cargo Claims > Cargo Claims Status.
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  Wekr straight bill of lading-'original-not
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   YRC"                                                        SGAC}: RDWY

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                                                                                                                                                                  PRO Number:
   Date: m/09/2020                                                     B/L
                                                                       number:                                                                                            name

                                                                                                                                                                   JENNY

                       name:                                                                                                                                       AttN: JENNY
                                                                        TERMI NAL 303
   ANTHONY MARTINO % YRC
                                                                                                                                                                    11620 MCALLISTER
       lOOO GHADDICK DR                                                                                                                                                                                                                                          32218
                                                                                                                                                                                                                                                     FL
                                                                                                              60090                                                 JACKSONVILLE
                                                                                            IL
       WHEELING
                      city                                                                                                                                          (e04) 265-5676


       ANTHONY MARTINO

       5BO VERNON LN
                                                                                                                                                                     PLEASE CALL                                           EE AT 904-265-5676                    . IF SI{E DOES NOT
       Attn: ANTHONY MARTIN0                                                                                                                                                                                                                                                                                (
                                                                                                                                                                                                                                                                                          A
                                                                                                                                                                                                                               HER A VOICE MESSAGE WITH
                                                                                            State:            ztP
       City;
                                                                                            IL                60089                                                  ANSWER, PLEASE
       BUFFALO GROVE
                                                                                                                                                                     Contact Phone:
       Contact Name:
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       x Standard                                                                                     t'.,,
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                  :                                                                                                                                                                                                                      O By noon
                                                                                                                                                    E Trme-Crlticl                   Delrver bY'
       E Guaranteed Standard Servi@ by 5 p'm or snd of business day
                                                                                    /-                                                              tr Time^Criti€l Hour Wndow Del'ver on:
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       Quote l.D.: 55172277                                                                                                                        All shipments are subject to individual pricing


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        Cod fee                               D        Collect tl
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       1                           PL'T           1                 BDL                         1 BRAND NEWSI{P865ZD2N
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                                                                                                Del ivery Appointrnent:PrePaid


       1                                          1                                                   GRAND TOTAL                                                                                                                     140
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        declared value of the paoperly as follows:                                                                                                                        as lo ensure
        The aoreed or declared value ofthe property is                                              stated          shipper to be not                         Ifthis shipment                                                             recouree on lhe

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        Mte: (2tmbititv liilitation ior toss or
                                                                per
                                                                                                     this shipment                    be
                                                                                                                                                              the following statement:
                                                                                                                                                              The @fiiermay decline to make delivery of
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                                                                                                                                                                                                                             shipment without payment of freighl and all other lawful



                                                                                                                                  on                                   and shipper,                                                                                       been established by the
                             are             to the            on
                                                                                     as                                                                                                                                                              or any podion of said route to
        unknoM), marked, consigned, and                                             carier (theword carier being                                                                                                            of said                                                              be
        throughout this conkact as meaning any person or corporation in possession ofthe propedy under the conlracl) agrees to                                subject to all the                                           whelher                                                    conditions on
             its usual place ofdelivery ofsaid destinaton, ifon ib rcute, oheruise to deliver to another carrier oa he rout6 to said                                                                                  by    shipper and accepled for himself and his assigns.

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        Shipper company name:
                                                                                                                                                                                                                                                             n                            ! Driver
       ANTHONY MARTINO                                                            Y'RC FREIGHT
                                                                                                                                                                                                                                      counted by:            E Driver: pallets said to contain

                                                                                                                                                                                                                            Shipper                          fl Driver: pallets containing
                                                                                                                                                                                                                            Drivef, Loose pieces

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                                                                                                 Pro Number: 357-1
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                                                                  C           MER ORDER INFORN/ATION
                                                                                       STORE #       DEPT                                                # PKGS        WEIGHT
                          CUSTOMER ORDER NUMBER




                                                                              RRIER INSTRUCTIONS
      BACK NUMBER. HER AI-TE
             NTMENT




                                                                               RRIER INFORI\4ATION
        HANDLING UNIT                                                                              COMMODITY                               roN                      LTL ONLY
         QTY    TYPE              QTY           TYPE        WEIGHT          HM
                                                                                                                  or additional caro or            or
                                                                                                                                                                  NMFC #       CLASS
                                                                                     must be so markod and packaged as lo ensur€ sale       wilh ordinary care.
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                                                                                                                                                                For shipment information, visit yrcfreight.com or
    Web straight bill of lading-original-not negotiable                                                                                                                                   call 1-800-610-6500

     YRC                                            SCAG: RDWY
                                                                                                                                                                                           397-22s762-2
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    Date:
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                                                                        TEiler                                                                                   name
                                                                                                                                                   AVERY WATERMAN
                 name:

    ANTHONY MARTINO % YRC TERMINAL 303                                                                                                              AttN: AVERY WATERMAN

    l()O() CHADDICK DR                                                                                                                              322 E LANDING
                                                                                                    code:

                                                                                 IL           60090                                                 WILLIAMSBURG                                                         VA            23185
    WHEELING
                                                                                 State;
                                                                                                                                                    (7s7) 570-8484
                                                                                                                                                   Customer number:                               Store numben                         Depa.tment:
     lnvoice:
    ANTHONY MARTINO
    Address:
    580 VERNON LN
                                                                                                                                                             instructions:

    Attn: ANTHONY MARTIN0                                                                                                                           DECLARED VALUE: $ 1750 FOR TOTAL GROSS WEIGHT
     City:                                                                       State:      ZIP code:

    BUFFALO GROVE                                                                IL          60089
                                                                                                                                                   Contact Phone:
     Contact Name;



    ft Standaro                                                                                                                    E     Acrelerated


                                                                                                                                   D Time-Critical              De,iver   by:-/              /                E By noon tr By 5 p m or end of business day
     I Guaranteed Standard SeNice by 5 p m or end of business day
     D Guaranteed Multiday Wndow Between:-/- t-                                               &-l                                   tr Time-Critical Hour \Mndow Deliver on:                          /-            Betwen:                          &

                                                                                                        -l                          C Time-Critical (fastest ground delivery - no-/delivery date required)
                                                                                                                -                                                                                                             'guannlee anly applies ia dtrect sevice poinls

    Quote l.D.: 59639874                                                                                                           All shipments are subject to individual pricing programs as published by YRC or by written transportation contracts


     COd fee: Prepaid E collect tr                                                              COD amount: $                                               Customer check OK for COD amount?                                                YesC NoD
                                                                                                                                                                                                                                             shi6mant dim.nr
           No-                                                                                                                                                                                                 Weight (lb)
        shipping         Kind-of            No.      Unit of
                         package          pieces    measure                           Description of arlicles, special marks and excePtions                  NMFC item number               Class          Subject to cofrection       Length         width           Heiqht
          units

    1                    PLT             1          B0x                           1 BRANDNEWTHERMADOR                                                                                                      115                        60             37               35

                                                                                  HMCB36WS WALL-HOOD
                                                                                  Residential Del ivery:Prepaid
                                                                                  Liftgate Service at Delivery:Prepaid
                                                                                  Delivery Appointment:PrePaid


    1                                    1                                            GRAND TOTAL                                                                                                          115
                                                                                                                                                                          Shipment charges are prepaid                        Total
        Ph&i3*:                    ')1              l'i*rile                                                           e+ntracl #:                                        unless marked collect: Collect D                    charges: $
                                                                                 specifically in writing the agreed or                                                       special or additional care or altention in handling or stolsng must be so marked 3nd
    @muststate                                                                                                                                                               lransportation with ordinary care- See Sec.2(e),of NMFC item 360.
        declared value of the properly as follows:
                                                                                   stated by the             to be not exeeding               lf this shipmeni is to be delivered  to the             without recouGe on the consignor, the consignor shall sign
        The sgreed or declared value oflhe properly is hereby
         ,t
         )l   tl{0 , *CI
        No-G: (4 Liability limitation for loss'or
                                                   per
                                                                                 on this shipment may be
                                                                                                                                              the following statement:
                                                                                                                                              The carrier may decline to make delivery
                                                                                                                                              charges.
                                                                                                                                                                                           of this shipmeni  without paymenl of freight and all other lawful


        aoolicable. See 49 U.S.C. S1+706 (cXlXA)                               (B).                                                           Sionature of consiqnor
                                                                                       that have been            on                                        shipper, if                                                   and rules that have been
                           lo individually                     oa
        carier     aae
                                                   good o.der, except as                                                  of packages
                                         and                                                 {the              being                                                                    in all                    trat                                              shall
                                                                                                                 contact) agrees to                     all the conditions not prohibited by                                                  including the
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        I hereby declare                                                       and accurately                                proper            name and are                                                                                           Proper
                                 lo                            and
        Shipper company name:                                       Carrier:                                           Trailer #                                Date:                            Trailerloaded by:                 tr Shipper            E Driver
        ANTHONY MARTINO                                             YRC FREIGHT                                                                                                                                                    E Driver pallets said to contain
                                                                                                                                                                31tq/xo                          Freight counted by:
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LVXQDEOHWRPDWFKZLWKLWVRSHQDFFRXQWVUHFHLYDEOHRURWKHUZLVH
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PRQWKV$Q\DFWLRQDWODZRUSURFHHGLQJWRUHFRYHUIRUIUHLJKWORVVRU
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OLPLWDWLRQVQRWHGDERYHVKDOOEHDFRPSOHWHDQGDEVROXWHGHIHQVHWRDQ\
VXFKDFWLRQRUSURFHHGLQJZLWKRXWUHJDUGWRDQ\PLWLJDWLQJRU
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DVDFODVVSODLQWLIIRUFODVVUHSUHVHQWDWLYHMRLQDFODVVDVD
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XQGHUVWDQGVWKDWLQH[FKDQJHIRUDQGLQFRQVLGHUDWLRQRIWKHSD\PHQW
E\&DUULHUZKLFK&ODLPDQWDFNQRZOHGJHVUHFHLSW&ODLPDQWDQGLWV
UHVSHFWLYHVXEURJRUVVXFFHVVRUVKHLUVDVVLJQVDJHQWVDWWRUQH\V
UHSUHVHQWDWLYHVLQVXUHUVDQ\WUXVWHHVRUFRQVHUYDWRUVDSSRLQWHGRQ
WKHLUEHKDOIDQGDOOUHODWHGEXVLQHVVHQWLWLHVLQFOXGLQJWKHLU
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DVVLJQVRIILFHUVGLUHFWRUVVKDUHKROGHUVDJHQWVDWWRUQH\V
HPSOR\HHVLQVXUHUVDQGWKHLUUHVSHFWLYHKHLUVDQGOHJDO
UHSUHVHQWDWLYHVUHOHDVHVGLVFKDUJHVDQGDFTXLWVDOOFODLPVDFWLRQV
DQGFDXVHVRIDFWLRQZKLFK&ODLPDQWKDVDJDLQVW&DUULHUDQGLWV
LQVXUHUVDIILOLDWHVDJHQWVDWWRUQH\VVHUYDQWVHPSOR\HHV
VXFFHVVRUVRUDVVLJQVDQGDOOUHODWHGEXVLQHVVHQWLWLHVLQFOXGLQJ
WKHLUSDUHQWVXEVLGLDU\DIILOLDWHGDQGUHODWHGFRPSDQLHVDULVLQJ
IURPDQ\DQGDOOOLDELOLW\RUFODLPVRIOLDELOLW\ZKHWKHUNQRZQRU
XQNQRZQIRUSURSHUW\GDPDJHRUDQ\RWKHUGDPDJHDULVLQJRXWRIRU
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&ODLPDQWDJUHHVWKDWLWZLOOQRWLQWKHIXWXUHSXUVXHRUDJUHHWR
DOORZLWVHOIWREHQDPHGDVDSXUVXLQJSDUW\LQDQ\ODZVXLWRIDQ\
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VHUYDQWVHPSOR\HHVVXFFHVVRUVRUDVVLJQVDQGDOOUHODWHGEXVLQHVV
HQWLWLHVLQFOXGLQJWKHLUSDUHQWVXEVLGLDU\DIILOLDWHGDQGUHODWHG
FRPSDQLHVDULVLQJIURPDQ\DQGDOOOLDELOLW\RUFODLPVRIOLDELOLW\
ZKHWKHUNQRZQRUXQNQRZQIRUSURSHUW\GDPDJHRUDQ\RWKHUGDPDJH
DULVLQJRXWRIRUUHODWLQJWRWKHFODLPVXEPLWWHGE\&ODLPDQW
&ODLPDQWIXUWKHUDJUHHVWKDWLQWKHHYHQWVXLWLVSXUVXHGDJDLQVW
&DUULHURULWVLQVXUHUVDIILOLDWHVDJHQWVDWWRUQH\VVHUYDQWV
HPSOR\HHVVXFFHVVRUVRUDVVLJQVDQGDOOUHODWHGEXVLQHVVHQWLWLHV
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IRUDOOFODLPVFRVWVH[SHQVHVDWWRUQH\V IHHVGDPDJHVRUDPRXQWV
SDLGRIDQ\NLQGDULVLQJRXWRIRUUHODWLQJWRWKHFODLPVXEPLWWHGE\
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